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Exhibit 4
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City of Huntington v. AmerisourceBergen Drug Corp. et al, No. 3:17-cv-1362 (S.D.W.Va.)
Cabell County Commission v. AmerisourceBergen Drug Corp. et al, No. 3:17-cv-1665 (S.D.W.Va.)

Expert Report
Lacey R. Keller




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    I.    Data and Definitions Included in the Analysis
     1. This analysis relies on the following definitions and data, which were analyzed for all years
        available per source.
                   A. General Definitions
     2.    The U.S. Food and Drug Administration defines a labeler as, “either a manufacturer, including a
          repackager or relabeler, or […] the entity under whose own label or trade name the product will
          be distributed.”1 I use the terms “labelers” and “manufacturers” interchangeably to refer to the
          entities that operate as labelers of opioids.2

     3. I use the term “Case Defendants” to refer specifically to the defendants listed in the case
        complaint. In this case, the defendants are AmerisourceBergen Corporation
        (“AmerisourceBergen”), Cardinal Health (“Cardinal”), and McKesson Corporation (“McKesson”).

     4. Morphine milligram equivalents (“MMEs”) allow for comparative analyses of drugs with
        different molecular bases (i.e., oxycodone, hydrocodone) by assigning each drug a different
        conversion to morphine.3 For example, opioid products of the same milligram weight containing
        hydromorphone are four times more potent than drugs containing hydrocodone.

     5. Dosage units are defined as the unit of dosage for a patient, such as the number of tablets,
        milliliters, or patches that may have been prescribed or administered.4

     6. I rely upon the expert report of James E. Rafalski to identify prescribing practices that are red
        flags of potential diversion, including prescribing a high volume of opioids, prescribing a
        disproportionately large volume for a prescriber’s field of practice or geographic
        area/population, prescribing a disproportionate volume of opioids relative to other non-
        controlled drugs for the prescriber’s field of practice, having large variances or sharp increases in
        opioid prescribing, prescribing an unusual volume or pattern of antianxiety and antidepressants
        that are commonly abused with opioids and opioids, and/or prescribing a disproportionate or
        large volume of high dose opioids for the prescriber’s field of practice. In addition, a high volume
        or proportion of prescriptions that are paid for with cash is another red flag.




1 Center for Drug Evaluation and Research. “Drug Approvals and Databases - National Drug Code Directory.” U S Food and Drug Administration
Home Page, Center for Drug Evaluation and Research, www.fda.gov/drugs/informationondrugs/ucm142438.htm.
2 I refer to these entities as interchangeably as “labelers” and “manufacturers” throughout this report and throughout my previous analysis.
3
  “Opioid Morphine EQ Conversion Factors August 2017.” CMS.gov Centers for Medicare & Medicaid Services, 3 Apr. 2019,
www.cms.gov/Medicare/Prescription-Drug-Coverage/PrescriptionDrugCovContra/.
4 ARCOS does not provide the dosage for bulk liquids and powders.


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                    B. Defendant Productions (Various Years, 1997-2019)
    i.        Drug Emporium (2012-2018)
          7. The Drug Emporium data contains the dispensing records for the pharmacy of the same name
             located at 3 Mall Road in Barboursville, Cabell. The data, which begins on January 1, 2012 and
             goes through December 31, 2018, includes the date a prescription was written, fill date,
             prescription number, amount of dosage units filled, and method of payment (e.g., cash or third
             party). Also included was product name (e.g., “HYDROCO/APAP 7.5-325”), Drug Enforcement
             Administration (“DEA”) schedule, and therapeutic class (e.g., “Analgesics-Opioid”). Prescriber
             information, including name and DEA number, is provided for each prescription, although the
             DEA number is omitted for many records and some DEA numbers represent several individual
             prescribers. I first received this data on or around June 2, 2020, produced under bates
             DE0033480-DE0033486.
    ii.       IQVIA (1997-2017)
          8. The IQVIA Xponent® data is one of many datasets owned and maintained by IQVIA, a healthcare
             information company formerly known as IMS Health and Quintiles.5 The data is part of the
             National Prescription Audit (“NPA”) and “is the industry standard for measuring the retail
             outflow of prescriptions through the ‘front door’ into the hands of consumers.”6 The data is said
             to “integrate real-world data“ to provide a “timely, accurate picture of[…] competitive
             performance and demand,” as well as a “deep understanding of[…]key drug dispensing
             channels.”7 IQVIA data is considered by some pharmaceutical companies as the “gold standard
             in terms of understanding prescription trends.”8

          9. IQVIA describes the key prescription information offerings of Xponent® data as: “A suite of sub-
             national reporting providing granular prescription performance perfectly aligned to help
             manage customer operations, sales targeting, and representative incentive compensation.”9
             IQVIA is not reported through a government agency but is proprietary and purchased by
             financial and pharmaceutical companies.10 Available on a monthly or weekly basis, IQVIA data
             consists of a “representative sample of Retail (Chain, Foodstore, Independent pharmacies), Mail
             Service and Long Term Care pharmacies.”11 The data includes 93% of retail distributions from



5 “QuintilesIMS is now IQVIA.” IQVIA, November 2017, https://www.iqvia.com/newsroom/2017/11/quintilesims-is-now-iqvia
6 “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017
7 “Prescription Information.” IQVIA, https://www.iqvia.com/locations/united-states/solutions/commercial-operations/essential-

information/prescription-information
8 Bingol Dep. 289:13-17, January 17, 2019
9 “Prescription Information.” IQVIA, www.iqvia.com/locations/united-states/commercial-operations/essential-information/prescription-

information.
10 “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017; Example Bates: ABDCMDL00306518, ABDCMDL00248612,

ACTAVIS0280761, ALLERGAN_MDL_00327297, CAH_NYConsolidated-0151612, EPI000521550, JAN-OH-00017030, MCKMDL01208679, MNK-
T1_0001172427, PPLP003360321, TEVA_MDL_A_02812072
11
   "Appropriate Use of IMS Information: Financial Community Presentation." IMS Health, 2009,
http://us.imshealth.com/marketing/fincom/appropriateuse_presentation.pdf
11 “Prescription Information.” IQVIA, https://www.iqvia.com/locations/united-states/solutions/commercial-operations/essential-

information/prescription-information




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           nearly 60,000 pharmacies,12 72% of mail order pharmacies’ distributions obtained from nearly
           400 locations, and 78% of long-term care pharmacies’ distributions obtained from over 3,000
           locations originating at the pharmacy terminal level.13

     10. Given that IQVIA reflects the prescribing history of physicians, the dataset could allow anyone
         who purchases it to determine how frequently a physician prescribed particular drugs, as well as
         what formulations and in what dosages, and how prescribers ranked among other prescribers.
         The data also allows for the identification of opioid prescribing patterns of individual physicians
         compared to their cohorts based on specialty, geography (e.g., city, county, zip code, state), and
         time period. Although IQVIA reflects only the share of prescriptions that were actually filled
         given that the data is derived from pharmacy sales records, filling pharmacy information is not
         provided with the data. 14,15

     11. I first received this data on or around February 1, 2019. I processed this data in my capacity as a
         plaintiff expert witness in re National Prescription Opiate Litigation, MDL No. 2804. The data was
         produced as part of Production Volume Number thirteen (ALLERGAN-MDL013) containing the
         following bates range: ALLERGAN_MDL_02167865 to ALLERGAN_MDL_02485011.16

     12. Due to rounding differences in such high-volume data, percentages in IQVIA-based tables differ
         depending on the metrics displayed and the level of granularity used. IQVIA natively represents
         monthly prescription estimates as decimals. I preserve the raw form of the data in as exact a
         format as possible while rounding prescriptions to the nearest non-zero whole number. Totals
         may reflect slightly different values because of differences in underlying aggregation.




12 The IQVIA data includes Chain Pharmacies, Independent Pharmacies, Foodstore Pharmacies, Discount Houses, Mass Merchandisers, Standard
& Specialty Mail Pharmacies Combined, and Long-Term Care Pharmacies. It does not include Dispensing Physicians, Hospital Pharmacies, Clinic
Pharmacies, Closed-Wall HMOs, Home Healthcare, and the Veterans Administration Long-Term Care or Mail Order Pharmacies.
13 “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017.
14
   “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017.
15 It is my understanding that other data products from IQVIA do contain this information.
16
   “In re National Prescription Opiate Litigation, MDL No. 2804.” Allergan Finance, LLC (f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.),
August 10, 2018 regarding production Volume Number thirteen (ALLERGAN-MDL013) containing the following bates range:
ALLERGAN_MDL_02167865 to ALLERGAN_MDL_02485011
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     II.   Limitations of Analysis
       13. This analysis only considers prescriptions of which Case Defendants could have been aware
           using the IQVIA Xponent® data. I do not examine activity from the standpoint of other
           distributors, buyers, or labelers using other datasets available to Case Defendants, such as the
           ARCOS or chargeback data. IQVIA Xponent® data provided to Plaintiffs for a broader time period
           (1997-2017) than other data, such as ARCOS (2006-2014) relied upon by other experts. Further,
           the ARCOS and chargeback datasets would only contain information about prescribers who
           purchased opioids directly from distributors, a subset of all prescribers. The IQVIA Xponent®
           data also includes prescriptions written for other opioids and controlled substances that are not
           included in ARCOS data.

       14. This analysis only includes dispensing data from Drug Emporium as described in the Materials
           Reviewed (Section VIII) and Methodology (Section XI) of this report. If Case Defendants produce
           additional dispensing or other relevant data after the filing of this report, I reserve the right to
           amend or supplement my analysis to take account of that information. Upon information and
           belief, Case Defendants had or had access to dispensing data from other customers beyond
           Drug Emporium, as well.17

       15. My opinions are held to a reasonable degree of professional certainty and are based on my
           professional experience and training and rely on publicly available data and information,
           documents produced in this litigation, documents produced in In Re: National Prescription
           Opiate Litigation, Case No. 18-md-2804 (MDL), and documents produced in other opioid
           litigation, such as the New York Attorney General’s pre-litigation investigation. This analysis
           reflects findings and opinions based on the data that I received and was able to process prior to
           the filing of this report. I acknowledge that there are additional sources that I was not able to
           consider for this report and I continue to review documents and gather information. Should
           substantial new data or clarifications become available to me, I reserve the right to update my
           analysis.

       16. The data included in this analysis is limited to the following fourteen opioid drug codes:
           buprenorphine, codeine, dihydrocodeine, fentanyl, hydrocodone, hydromorphone, levorphanol,
           meperidine, methadone, morphine, opium powdered, oxycodone, oxymorphone, and
           tapentadol. Although there are other opioid products that were bought, sold, and distributed by
           Case Defendants, such as tramadol or opioid antagonists like naloxone, I do not consider them
           in this analysis. Whenever I make references to all prescriptions, all drugs, or similar phrasing, I
           refer to all metrics pertaining to these fourteen drug codes.




17ABDCMDL00003707, CAH FEDWV 00004273, CAH_MDL2804_02113128, CAH_MDL2804_02113129,
CAH_MDL_PRIORPROD_HOUSE_0000079, MCKMDL00446527; MCK_WVAAG_00000551, MCKMDL00364970, MCKMDL00402789
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 III.        Scope of Report and Summary of Opinions
       17. In Overview (Section IV), I provide an overview of prescribing history in Cabell County for
           practitioners. I rely upon IQVIA Xponent® and Drug Emporium dispensing data. IQVIA and other
           dispensing data could have been purchased by, was available to, and in some cases, was actually
           received by and/or reviewed by Case Defendants.18 This could have provided them with granular
           information regarding the prescribing of opioids in Cabell County.

       18. In Top 1% Prescriber Examples (Section V and Section VI), I exemplify data for some of the top
           one percent of prescribers in Cabell County based on total dosage units or MMEs prescribed.
           These prescribers not only ranked in the top one percent in the county but also among all opioid
           prescribers nationwide. Those exemplified are among opioid-prescribing physicians that could
           have been known to Case Defendants and do not encapsulate the entirety of prescribers in
           Cabell County. Instead, these examples demonstrate that it was and is possible to identify
           prescribers in Cabell County by name and prescribing history.

 IV.         Overview
       19. This section provides an overview of the opioid landscape in Cabell County using IQVIA data and
           Drug Emporium dispensing data. The analysis is at the county level and includes annual
           comparisons, comparisons to the state of West Virginia as well as to the nation, and additional
           analysis on leading prescribers and prescriptions in Cabell County.

       20. Opioid dosage units prescribed in Cabell County trended above state and national averages
           every year in IQVIA data. At the start of the IQVIA period in 1997, prescribers wrote enough
           opioid prescriptions to give the average person in the United States or West Virginia fewer than
           20 dosage units each – compared to the 40 approximate dosage units per person that every
           resident of Cabell could have received, given the prescribing rates of Cabell County physicians. In
           2006, Cabell County ranked eighth in the entire nation for opioid prescribing per capita.
           Prescribed dosage units continued to rise in subsequent years, with dosage units in Cabell
           County peaking in 2009, when every resident of the county could have been prescribed nearly
           160 dosage units each. Moreover, the second lowest per capita year in Cabell County (48 dosage
           units per person in 1998) was higher than the highest per capita year in the nation (47 dosage
           units per person in 2011).

       21. Between 1997 and 2002, opioid dosage units prescribed in Cabell County more than doubled. By
           2005, they had more than tripled; and by 2009, dosage units had nearly quadrupled since 1997.
           The total volume of dosage units and of MMEs increased from the first year in IQVIA data
           through 2009 and 2010, respectively. By 2010, the average prescriber in Cabell was writing
           prescriptions totaling over 26,000 dosage units and 450,000 MMEs.

       22. While the total volume of prescriptions was increasing, so too was the number of pills and
           MMEs per prescription. Dosage units written by the average prescriber increased from fewer



18
     See footnotes 10 & 17.
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           than 50 per prescription in 1997 to 70 per prescription in 2009, while average MMEs grew from
           fewer than 400 per prescription in 1997 to over 1,000 MMEs per prescription by 2009. Average
           dosage units and MMEs per prescription written remained relatively high for the remainder of
           the period as compared to pre-2009 levels.

      23. The total number of opioid-prescribing physicians in Cabell County continued to rise even after
          the peak prescribing years for dosage units (2009) and MMEs (2010), with more Cabell
          physicians writing opioid prescriptions in 2017 than in any previous year in the data.

      24. The top one percent of opioid prescribers in Cabell County wrote approximately 20% to 40% of
          all prescribed dosage units and 20% to 65% of prescribed MMEs in the county each year
          between 1997 and 2017. Compared to overall opioid prescribing in the county, which had nearly
          quadrupled by 2009, total prescriptions written by just the top one percent of prescribers in
          Cabell County over seven-fold during the same time period.

      25. Distributors that served Cabell County periodically asked pharmacies for dispensing data.19, 20 An
          example of the type of data that may have been provided to Case Defendants as part of their
          SOMs has been produced from Drug Emporium, a pharmacy located in Cabell County. The data
          shows prescriptions written primarily by physicians in Cabell County and nearby counties. If Case
          Defendants had reviewed Drug Emporium’s dispensing data, they would have been able to
          identify physicians whose prescriptions of opioids were disproportionate relative to other drugs.




 19
    ABDCMDL00003707, CAH FEDWV 00004273, CAH_MDL2804_02113128, CAH_MDL2804_02113129,
 CAH_MDL_PRIORPROD_HOUSE_0000079, MCKMDL00446527; MCK_WVAAG_00000551, MCKMDL00364970, MCKMDL00402789
 20
    An August 2013 McKesson document stated that as part of an update of its Controlled Substance Monitoring Program (CSMP) the distributor
 would “no longer request or accept individual doctor dispensing data from customers,” but McKesson continued to receive such data.
 MCKSTCT00000132
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        Table 1 Annual Opioid Prescriptions
        (IQVIA Xponent®: Cabell County, 1997-2017)
        This table is sorted chronologically. Percent increases are calculated to the base year of the data (1997).




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        Figure 1 Opioid Prescriptions Over Time
        (IQVIA Xponent®: Cabell County, 1997-2017)
        This figure displays both dosage units and MMEs on a monthly basis.




        Figure 2 Annual Opioid Dosage Units Per Capita in State Compared to Nation
        (IQVIA Xponent®: Cabell County, 1997-2017)




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        Table 2 Ten States With Highest Per-Capita Opioid Prescribing
        (IQVIA Xponent®: United States, 1997-2017)
        This table is sorted by descending dosage units per capita and limited to the ten states with the highest dosage units per capita.




        Table 3 Cabell County Ranking Nationwide for Opioid Prescribing
        (IQVIA Xponent®: United States, 1997-2017)
        This table is sorted chronologically.




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        Table 4 Contribution of Top 1% of Prescribers in Cabell County to Total Opioid Prescribing
        (IQVIA Xponent®: Cabell County, 1997-2017)
        This table is sorted chronologically. The top 1% of physicians was calculated based on total annually prescribed dosage units or MMEs.




        Figure 3 Total Opioid Prescriptions Written by Top 1% vs. Remaining 99% of Prescribers
        (IQVIA Xponent®: Cabell County, 1997-2017)
        This figure displays dosage units. The top 1% of physicians was calculated based on total annually prescribed dosage units or MMEs.




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        Figure 4 Average Opioid Dosage Units and MMEs per Prescription
        (IQVIA Xponent®: Cabell County, 1997-2017)
        This figure displays monthly average dosage units per prescription and monthly average MMEs per prescription across all prescribers.




        Table 5 Average Opioid Prescribing Per Physician and Prescription Over Time
        (IQVIA Xponent®: Cabell County, 1997-2017)
        This table is sorted chronologically.




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        Table 6 Opioid-Prescribing Specialties
        (IQVIA Xponent®: Cabell County, 1997-2017)
        This table is sorted by descending dosage units.




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        Table 7 Opioid-Prescribing Specialties with Per Physician and Prescription Averages
        (IQVIA Xponent®: Cabell County, 1997-2017)
        This table is sorted by descending average dosage units per prescriber.




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            Table 8 Ten Highest Opioid Prescribers
            (IQVIA Xponent®: Cabell County, 1997-2017)
            This table is sorted by descending MMEs and limited to the ten highest prescribers in terms of total MMEs. County population was used
            for per capita calculations. Ranks are among all prescribers in Cabell County.




            Table 9 Drug Emporium Ten Highest Overall Prescribers
            (IQVIA Xponent®: Cabell County, 1997-2017)
            This table is sorted by descending total prescriptions. Ranks are among all Drug Emporium prescribers. “Other Holy Trinity
            Prescriptions” refers to alprazolam, Xanax®, Soma®, and carisoprodol.21




 21   US-DEA-00002430; DEA_Rannazzisi-00003170
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            Table 10 Drug Emporium Ten Highest Proportion of Opioid Prescriptions
            (IQVIA Xponent®: Cabell County, 1997-2017)
            This table is sorted by descending percent prescriptions of opioids. This table is limited to prescribers with more than 500 total
            prescriptions. Ranks are among all Drug Emporium prescribers. “Other Holy Trinity Prescriptions” refers to alprazolam, Xanax®, Soma®,
            and carisoprodol. 22




 22   US-DEA-00002430; DEA_Rannazzisi-00003170
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  V.       Top 1% Prescriber Examples in Cabell County

        26. These abbreviated case studies on individual prescribers and their practices show results
           for some of the top one percent of opioid prescribers in Cabell County. Although the
           following examples are limited to Cabell County, the exemplified prescribers also among
           the top one percent of opioid-prescribing physicians nationwide.

        27. These profiles are not meant to represent every prescriber in Cabell County but to
            illustrate the data that Case Defendants had available to them and what that data would
           have shown.

           Table 11 Cabell County Top 1% of Prescribers Ranking Nationwide, Statewide, and Countywide
           (IQVIA Xponent®: Nationwide, 1997-2017)
           This table is sorted by descending dosage units and is limited to the exemplified prescribers. Highest ranking refers to the highest
           comparative rank (e.g., first place vs. tenth place) that a prescriber reached in any year between 1997-2017 for themselves, meaning
           that the highest rank for one prescriber achieved might occur in a different year from that of another prescriber’s highest rank.




   i.




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            Prescriber: Deleno Webb
           Figure 5 Image of Board of Medicine Registered Address
           (Google Maps: 10 W 6th Ave Suite 300, Huntington, WV)




      28. Deleno Webb was a licensed Psychiatrist and Pain Medicine specialist.23 The West
           Virginia Workers’ Compensation Commission banned Webb in 2005 from receiving
           payment for treating injured workers based on claims that he was prescribing Oxycontin
           without conducting physical examinations and was the leading prescriber of Oxycontin
           in the state.24, 25 Webb continued prescribing opioids for more than a decade, until
           voluntarily surrendering his medical license in 2017 following an investigation that
           found he “commonly treated the patients with excessive dosages of opiates and
           benzodiazepines,” among other claims.26

      29. Webb was among the top five prescribers in Cabell County every year between 1998
           and 2016. In seven of those years, he prescribed more opioid dosage units and MMEs
           than any other physician in Cabell County. In fact, in 2002 and 2003 Webb was the
           leading prescriber of opioid dosage units and MMEs in West Virginia. During the IQVIA
           period, Webb prescribed more than 10 million dosage units of oxycodone alone, ranking
           first in the state for overall for prescriptions, dosage units, and MMEs. Overall, Webb



 23
    “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
 24 The Commission recommended patients who had been treated by Webb to “receive appropriate evaluation and treatment, which may
 include inpatient detoxification” https://www.claimsjournal.com/news/southeast/2005/07/05/56882.htm;
 25 PPLPC031000256122
 26
    Webb’s medical license also showed five malpractice lawsuits between 1983 and 2005, four which were settled and one which was
 dismissed. His record indicates that his license to dispense controlled substances expired in 2003.
 https://wvbom.wv.gov/public/search/index.asp
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           prescribed an average of roughly four times the volume of opioids as prescribed by the
           average pain management specialist nationwide. By 2011, Webb was prescribing over
           1.1 million dosage units – the equivalent of more than 130 pills every hour of every day.
           Over 30% of the dosage units Webb wrote were for oxycodone 30mg. Over 70% of the
           prescription dosage units written by Webb filled at Drug Emporium were for opioids,
           with another 20% of dosage units were for antianxiety medications. Over 20% of
           Webb’s prescriptions for antianxiety medications, beta blockers, and hypnotics were
           paid for in cash, according to the Drug Emporium data.

      30. A February 2012 Cardinal document shows Webb’s prescriptions comprising a
           significant proportion of opioid prescriptions filled by the Medicine Shoppe #0290
           between 11/24/2011 to 02/24/2012.27 According to internal AmerisourceBergen
           documents from April 2013 and September 2015, Webb was a leading prescriber at a
           Walgreen store on 6414 US 60 East in Barboursville, WV. In both documents, the
           pharmacy filled over 70 prescriptions written by Webb.28 In the 2015 document, Webb
           was marked as “Clear” ten years after being banned by the West Virginia Workers’
           Compensation Commission from receiving payment29, 30 and one year after the West
           Virginia Board of Medicine received two complaints regarding Webb’s prescribing
           practices.31 According to an internal McKesson document from July 2016, City Center
           Pharmacy also stopped filling prescriptions for any new patients for Dr. Webb in 2015,
           describing him as on the “shady side,” and noting that there were “more controlled
           substance prescriptions coming out of Dr. Webb's office than should be,” Webb’s
           prescriptions constituted 10-15% of the pharmacy’s controlled substance volume, and
           was their top oxycodone prescriber.32




 27
    CAH FEDWV 00004273
 28 ABDCMDL00282553, ABDCMDL00141589
 29
    The Commission recommended patients who had been treated by Webb “receive appropriate evaluation and treatment, which may include
 inpatient detoxification” https://www.claimsjournal.com/news/southeast/2005/07/05/56882.htm;
 30
    PPLPC031000256122
 31 “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
 32 MCKMDL00332266


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         Table 12 Prescriber Rank in County by Year
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




         Figure 6 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average – Pain Medicine
         (IQVIA Xponent®: Cabell County, 1997-2017)




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         Figure 7 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average – Psychiatry
         (IQVIA Xponent®: Cabell County, 1997-2017)




                Table 13 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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         Table 14 Opioid Prescriptions by Drug Formulation
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units and includes drug formulations with at least 3% of total prescriptions, dosage units, or
         MMEs.




         Table 15 Opioid Prescriptions Filled at Drug Emporium by Drug Name
         (Drug Emporium: 2012-2018)




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      ii.      Prescriber: David Caraway
               Figure 8 Image of Physician’s IQVIA Address
               (Google Maps: 2900 1st Ave, Huntington, WV)




            31. David Caraway is licensed as an Anesthesiologist and Pain Medicine specialist and
               practiced at the Center For Pain Relief.33 Caraway’s medical license indicated that he
               was involved in one 1997 malpractice suit that was dismissed in 2001.34,35 According to
               IQVIA data, Caraway’s opioid prescriptions drop significantly starting in 2015, after
               which Caraway became CMO of a California-based medical devices company.36 A 2010
               “Anti-Diversion New Customer Set-Up Checklist” from Cardinal notes that “the center
               for pain relief does not appear to have a valid license.”37

            32. David Caraway was the second largest prescriber of dosage units in Cabell County during
               the IQVIA period. For ten consecutive years, Caraway ranked among the top three
               prescribers of opioid dosage units in the county. From 2007 through 2012, Caraway
               prescribed over one million dosage units per year – more than ten times the average for



 33 “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
 34
    Ibid.
 35 CAH_FEDWV_00004273; CAH_FEDWV_0000181
 36 Nevro Corporation, “Leadership Team.” https://www.nevro.com/English/us/about/leadership-team/default.aspx
 37 CAH_FEDWV_00000202; CAH_FEDWV_00000202




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         anesthesiologists. Over 80% of prescriptions written by Caraway filled at Drug
         Emporium were for opioids. According to an internal AmerisourceBergen document
         from April 2013, Caraway was also a leading prescriber at the Walgreen store located at
         111 4th Ave in Huntington, WV.38 In the last year that Caraway prescribed over one
         million dosage units (2012), McKesson and Cardinal employees shared an article in
         which Caraway was quoted as saying he has seen a 20-30% increase in patient referrals
         and that patients “travel several hours” to see him because other doctors “have balked
         at writing painkiller prescriptions out of fear of prosecution.”39 In the same article, he
         went on to say “the laws are too restrictive.” 40

         Table 16 Prescriber Rank in County by Year
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




 38
    ABDCMDL00282553
 39 CAH_MDL2804_02211825, MCKMDL00515990
 40 CAH_MDL2804_02211825, MCKMDL00515990


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         Figure 9 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




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         Table 17 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




         Table 18 Opioid Prescriptions Filled at Drug Emporium by Drug Name
         (Drug Emporium: 2012-2018)
         This table is sorted by descending dosage units.




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      iii.      Prescriber: Anita Dawson
                Figure 10 Image of Board of Medicine Registered Address
                (Google Maps: 1798 Midland Trail Milton, WV)




             33. Anita Dawson was a licensed Doctor of Osteopathic Medicine until April 2010, when her
                license was suspended.41 In July 2012, Dawson pled guilty to aiding and abetting the
                illegal acquisition of prescription drugs and was sentenced in January 2013 to two years
                in federal prison.42 Nine patients’ deaths were attributed to Dr. Dawson’s prescribing
                patterns, including one patient who caused a fatal car crash while under the influence of
                opioids Dawson prescribed.43

             34. Anita Dawson ranked third in Cabell County for overall dosage units prescribed during
                the IQVIA period, despite not having a license to practice for the last seven years in the
                data. From 2006 through 2009, Dawson was writing prescriptions for over one million
                dosage units per year – more than 100,000 dosage units more per month than the
                average general practitioner in the state and nation. The average strength and dosage
                units per prescription increased almost every year she practiced until she was arrested,
                peaking at an average of 130 dosage units and 2,227 per prescription in 2010. The year
                before, she prescribed over 1.4 million dosage units – or 3,800 pills per day, including
                weekends and holidays.




 41
    West Virginia Board of Osteopathic Medicine, https://www.wvbdosteo.org/verify/details.asp
 42 “Cabell County Doctor Sentenced to Two Years in Prison for Federal Drug Crime.” FBI, Pittsburgh Division. 7 January, 2013.
 https://archives.fbi.gov/archives/pittsburgh/press-releases/2013/cabell-county-doctor-sentenced-to-two-years-in-prison-for-federal-drug-
 crime
 43 Ibid.


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         Table 19 Prescriber Rank in County by Year
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




         Figure 11 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




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         Table 20 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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      iv.      Prescriber: Philip Fisher
               Figure 12 Image of Physician’s IQVIA Address and Registered National Provider Identifier
               (NPI) Address for Huntington Spine Rehab & Pain Center44,45
               (Google Maps: 3554 US Route 60 E, Barboursville, WV)




            35. Philip Fisher was a licensed Doctor of Osteopathic Medicine until 2011, when his license
               was suspended and later revoked in 2014.46 Fisher was the subject of multiple board
               actions arising from opioid prescribing that resulted in the deaths of seven patients.47
               Among other charges, he was also found by the West Virginia Board of Osteopathic
               Medicine to have had sexual relationships with at least two of his patients, and to have
               continued to prescribe opioids to another physician who sought pain medication from
               Fisher to treat an injury while being aware that the physician was seeking pain
               medication from several other practitioners.48 Most recently, Fisher was arrested in
               Florida in 2019 for a murder-for-hire attempt.49

            36. Fisher was the fourth highest overall prescriber in Cabell County across the IQVIA
               period. Among all Cabell County prescribers, Fisher ranked within the top six for all
               years from 1997 through 2011. From 1997 to 2010, Fisher’s prescribing of dosage units
               increased roughly six fold from 148,000 dosage units to over one million dosage units. In
               his highest prescribing year, 2010, Fisher prescribed over two million dosage units –




 44 “Provider Information for 1407835911.” NPPES NPI Registry, U.S. Centers for Medicare & Medicaid Services,
 npiregistry.cms.hhs.gov/registry/provider-view/1407835911.
 45
    “Public License Search.” West Virginia Board of Osteopathic Medicine, https://www.wvbdosteo.org/verify/details.asp
 46 “Public License Search.” West Virginia Board of Osteopathic Medicine, https://www.wvbdosteo.org/verify/details.asp
 47
    “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
 48 Ibid.
 49
    “Ex-Barboursville doctor attempted to have sister killed to gain millions in inheritance,” The Herald Dispatch. 10 March, 2020.
 https://www.herald-dispatch.com/news/ex-barboursville-doctor-attempted-to-have-sister-killed-to-gain-millions-in-
 inheritance/article_8dab785d-d861-5bf0-8a7e-46ee0980437e.html
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         over 30 times the average physical/occupational therapist in the nation. In that year, he
         was the second highest prescriber in West Virginia and among the top 50 prescribers in
         the nation, prescribing nearly 250 opioid dosage units an hour, for every hour of every
         day in the year.
         Table 21 Prescriber Rank in County by Year
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




         Figure 13 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




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         Table 22 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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      v.      Prescriber: Dawn MacFarland
              Figure 14 Image of Board of Medicine Registered Address
              (Google Maps: 5187 US Route 60 East, Suite 2 Huntington, WV)




         37. Dawn MacFarland is licensed as an Internal Medicine specialist.50 Among fellow general
              practitioners, MacFarland ranked among the top five prescribers of dosage units in
              Cabell County every year from 2008 through 2017. Among all specialties, she also
              ranked among the top ten prescribers in the county every year from 2007 to 2017. On
              average, MacFarland prescribed over 100 dosage units per prescription between 2006
              and 2017.




 50   “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
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         Table 23 Prescriber Rank in County by Year
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




         Figure 15 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
          (IQVIA Xponent®: Cabell County, 1997-2017)




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         Table 24 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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      vi.      Prescriber: Gregory Chaney
               Figure 16 Image of Board of Medicine Registered Address
               (Google Maps: 6007 Us Route 60 E Ste 222, Barboursville WV)




            38. Gregory Chaney was licensed as an Internal Medicine specialist until March 2016 when
               he surrendered his license following a West Virginia Board of Medicine investigation
               following allegations that Chaney “improperly prescribed medications” to a patient who
               later died.51 He was sentenced to six months in federal prison in 2017 after pleading
               guilty to prescribing 120 oxycodone 30mg pills to an employee “without any physical
               examination of the and without medical necessity” who would then return the pills to
               Chaney in lieu of unpaid wages.52

            39. From 2012 to 2015, Chaney was the leading prescriber of opioids in his specialty and
               among the top five prescribers among all specialties in Cabell County. From 2006 to
               2015, Chaney’s prescribing increased steadily from 114,299 dosage in 2006 to over
               500,000 dosage units in 2015. By late 2015, he was prescribing about 25 times more



 51“Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.; MCKMDL00332263
 52“Former physician sentenced to federal prison for obtaining pain pills by fraud,” Department of Justice, Southern District of West Virginia. 3
 April, 2017. https://www.justice.gov/usao-sdwv/pr/former-physician-sentenced-federal-prison-obtaining-pain-pills-fraud




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           opioids than the average general practitioner in the nation. Chaney’s average
           prescription strength tripled, rising from 32 dosage units in 1997 to 98 dosage units in
           2016.

      40. According to an internal AmerisourceBergen document from April 2013, Chaney was a
           leading prescriber at two Walgreen stores – one on 6414 US 60 East in Barboursville,
           WV and 111 4th Ave in Huntington, WV.53 According to a similar AmerisourceBergen
           document from September 2015, Chaney was listed as leading prescriber at the
           Walgreen in Barboursville, WV.54 This time, the document marked him as “Clear.” In
           January of that year, the West Virginia Board of Medicine received a complaint
           regarding Chaney’s prescribing practices that led to a patient’s death. 55 In June 2015,
           Chaney’s license to dispense controlled substances expired. Four months after
           AmerisourceBergen marked Chaney as “Clear”, the West Virginia Board of Medicine
           issued an emergency suspension of his license.56 According to a July 2016 McKesson
           Controlled Substance Monitoring Program Regulatory Investigative Report, City Center
           Pharmacy had stopped filling prescriptions for Chaney earlier in 2016.57


           Table 25 Prescriber Rank in County by Year
           (IQVIA Xponent®: Cabell County, 1997-2017)
           This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




 53
    ABDCMDL00282553
 54 ABDCMDL00141589
 55
    “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.; MCKMDL00332263
 56 “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
 57 MCKMDL00332265


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         Figure 17 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




         Table 26 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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  vii.      Prescriber: John Tiano
            Figure 18 Image of Physician’s IQVIA Address and Board of Medicine Registered Address
            (Google Maps 2019: 1600 Medical Center Drive, Huntington WV)




         41. John Tiano was licensed as Cardiologist until he was placed on probation in 2008 and
            later revoked in September 2010 by the West Virginia Board of Medicine.58 Tiano
            pleaded guilty in federal court for illegally distributing controlled substances with
            “virtual abandon.” 59

         42. Despite prescribing for only five years in the IQVIA data, from 2005 to 2010, he
            prescribed more opioids than any other cardiologist in Cabell County during the entire
            IQVIA period. In 2006, he prescribed over one million dosage units of opioids – ranking
            first in the county across all medical specialties that year. Tiano went from prescribing
            roughly the same as other cardiologists in 2005 to prescribing over 400 times the
            average cardiologist nationwide in 2006.




 58“Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
 59
  “Public License Search.”
                    Search West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp; McGreal, Chris. “Why were
 opioid pills sent to a West Virginia town of 3,000?” The Guardian. 2 October, 2019. https://www.theguardian.com/us-
 news/2019/oct/02/opioids-west-virginia-pill-mills-pharmacies
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         Table 27 Prescriber Rank in County by Year
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




         Figure 19 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




         Table 28 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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  VI.         Top 1% Prescriber Examples at Huntington Internal Medicine Group

         43. Certain prescribers in the top one percent of Cabell County opioid prescribers were
              found to be affiliated with the same practice, the Huntington Internal Medicine Group
              (HIMG). Similar to other prescribers profiled in this report, these profiled prescribers
              from HIMG not only ranked in the top one percent in the county but also in the top one
              percent of all opioid prescribers across all specialties nationwide. The abbreviated
              profiles that follow are not meant to represent every prescriber at HIMG or in Cabell
              County but to illustrate the data that Case Defendants had available to them regarding
              leading (top one percent) Cabell prescribers who all practiced at HIMG, and what that
              data would have shown Case Defendants.
              Figure 20 Image of Huntington Internal Medicine Group
              (Google Maps: 5170 US Route 60, Huntington, WV 25707)




         44. HIMG is a large private practice, self-described as a “medical mall”, located in a
              converted Wal-Mart store.60 For the first several years of the IQVIA period, prescribers
              with IQVIA addresses at HIMG were prescribing approximately 50,000 dosage units and
              half a million MMEs per month. In less than ten years, HIMG’s prescribing increased to
              more than 2.5 million MMEs per month – over a 400% increase from 1997. HIMG
              prescribers continued write more than two million dosage units and 23 million MMEs




 60   “About HIMG.” Huntington Internal Medicine Group (HIMG). Accessed 1 August, 2020. https://www.uhswv.com/about-himg/
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         every year until 2013. In total, HIMG prescribers wrote nearly 20% of opioid dosage
         units prescribed in Cabell County between 1997 and 2017.
         Table 29 Huntington Internal Medicine Group Annual Opioid Prescriptions
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted chronologically.




         Figure 21 Huntington Internal Medicine Group Opioid Prescriptions Over Time
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This figure displays both dosage units and MMEs.




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 viii.        Prescriber: David Patick
         45. David Patick is licensed as an Internal Medicine specialist61 and is a physician at HIMG.
              According to his medical license, he was involved in four malpractice suits from 1986 to
              2006, two of which were settled and two of which were dismissed. In all but one year
              between 2012 through 2017, Patick ranked within the top five prescribers of opioids in
              Cabell County. Across all the years he prescribed, he ranked fourth in his specialty for
              MMEs and seventh for dosage units.

              Table 30 Prescriber Rank in County by Year
              (IQVIA Xponent®: Cabell County, 1997-2017)
              This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




 61   “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
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         Figure 22 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




         Table 31 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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      ix.     Prescriber: Chandos Tackett
         46. Dr. Chandos Tackett is licensed as a Family Practitioner62 and is a physician at HIMG.
              Though his prescribing in early years was already above state and national averages, his
              prescribing increased to approximately 40,000 dosage units per month in 2008 – more
              than nine times the average West Virginia family/general practitioner, who was
              prescribing fewer than 5,000 dosage units per month.

              Table 32 Prescriber Rank in County by Year
              (IQVIA Xponent®: Cabell County, 1997-2017)
              This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




 62   “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
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         Figure 23 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




         Table 33 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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      x.      Prescriber: Terrence Triplett
         47. Dr. Terrence Triplett is licensed as an Internal Medicine specialist63 and is a physician at
              HIMG. Like many others in his practice, his opioid prescribing was consistently above
              state and national averages for prescribers in his specialty during the IQVIA period.
              Triplett generally ranked in the top ten for opioid prescribing in Cabell County between
              1997 and 2017. Although hydrocodone comprised most of his opioid prescriptions, he
              ranked second among Cabell family physicians for prescriptions of fentanyl.

              Table 34 Prescriber Rank in County by Year
              (IQVIA Xponent®: Cabell County, 1997-2017)
              This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




 63   “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
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         Figure 24 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




         Table 35 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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              Table 36 Opioid Prescriptions Filled at Drug Emporium by Drug Name
              (Drug Emporium: 2012-2018)
              This table is sorted by descending dosage units.




      xi.     Prescriber: Gregory Carico
         48. Dr. Gregory Carico is a licensed Family Practice physician64 and is a physician at HIMG.
              Throughout the IQVIA period, Carico consistently ranked within the top ten prescribers
              in his specialty in Cabell County. In most years of the IQVIA data, his opioid prescribing
              was higher than the average family/general practitioner in West Virginia and the nation
              – sometimes by more than 30,000 dosage units per month. According to an internal
              AmerisourceBergen document from April 2013, Carico was also a leading prescriber at
              the Walgreen store located at 111 4th Ave in Huntington, WV.65 This document was
              dated four years before Carico’s highest prescribing year in 2017, the last year of IQVIA
              data.




 64   “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
 65   ABDCMDL00282553
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         Table 37 Prescriber Rank in County by Year
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




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         Figure 25 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




         Table 38 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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  xii.        Prescriber: Shawn Coffman
         49. Shawn Coffman is licensed as an Internal Medicine specialist66 and is a physician at
              HIMG. Coffman was among the five highest prescribers of opioids in Cabell County
              between 2015 and 2017 for dosage unitsand was consistently prescribing above state
              and national averages for his specialty.

              Table 39 Prescriber Rank in County by Year
              (IQVIA Xponent®: Cabell County, 1997-2017)
              This table is sorted chronologically. Ranks are among all prescribers in Cabell County.




 66   “Public License Search.” West Virginia Board of Medicine, https://wvbom.wv.gov/public/search/index.asp.
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         Figure 26 Prescriber Opioid Dosage Units Per Month Compared to Specialty Average
         (IQVIA Xponent®: Cabell County, 1997-2017)




         Table 40 Opioid Prescriptions by Drug Name
         (IQVIA Xponent®: Cabell County, 1997-2017)
         This table is sorted by descending dosage units. Ranks are among all prescribers in Cabell County.




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         Table 41 Opioid Prescriptions Filled at Drug Emporium by Drug Name
         (Drug Emporium: 2012-2018)
         This table is sorted by descending dosage units.




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 VII.    Conclusion
     50. Based on my analysis of IQVIA data, I conclude that Case Defendants had sufficient information
         to understand overall prescribing trends in Cabell County. Had they had reviewed this data, they
         would have seen that dosage units of opioids prescribed in Cabell County doubled in just five
         years (1997 to 2002) and quadrupled in twelve years (1997 to 2009). Defendants would have
         also seen that MMEs – the strength of the drugs – doubled in just three years (1997 to 2000)
         and increased seven-fold by 2010.

     51. The over 200 million of opioid dosage units and over three billion MMEs prescribed in Cabell
         County during the IQVIA period outpaced Cabell County's approximately 95,000 residents. In the
         peak years, Cabell County physicians were prescribing enough opioids to give every man,
         woman, and child in Cabell County over 150 dosage units per year. Had Case Defendants
         reviewed IQVIA data, they would have seen that Cabell County prescriptions were generally
         double the statewide average and triple the national average dosage units per capita. They
         would have also seen that Cabell County was, at times, amongst the top 20 of the United States’
         more than 3,000 counties in terms of dosage units per capita. They also would have seen that
         Cabell County exceeded the prescribing levels in West Virginia, the leading state in the U.S. in
         terms of opioid dosage unit prescriptions per capita, where physicians prescribed over two
         billion opioids for its fewer than two million residents.

     52. I further conclude that Case Defendants could have used IQVIA data and dispensing data to
         diligently monitor the prescribing activity of individual Cabell County prescribers. Had Case
         Defendants reviewed IQVIA data, they would have been able to identify by name prescribers
         exhibiting outlier prescribing activity based upon volume, dosage, and the composition of their
         prescriptions. The 1 percent of opioid prescribers – between five and nine prescribers – wrote
         upwards of 43% of all opioid dosage units and 65% of MMEs each year, totaling nearly 80 million
         dosage units and over 1.6 billion MMEs. In other words, a half dozen prescribers wrote enough
         opioid prescriptions to give every man, woman, and child in the county over 60 pills per year for
         several years between 2007 and 2011. Among these were prescribers like Deleno Webb, Anita
         Dawson, Philip Fisher, Gregory Chaney, and John Tiano – all of whom faced various disciplinary
         actions due to their prescribing activity. Furthermore, had Case Defendants also reviewed
         dispensing data available to them, as illustrated by the Drug Emporium dispensing data, the
         same outlier prescribers would have been apparent, not only for the quantity but also for the
         composition of their prescriptions. Among those was Deleno Webb, who wrote nearly 70% of
         his total prescriptions for opioids and most of the remaining prescriptions for antianxiety,
         antidepressant, anticonvulsant, and antipsychotic medications.

     53. Furthermore, documents I reviewed indicate that some Case Defendants were, in fact, aware of
         certain prescribers described in the report, including Deleno Webb, David Caraway, Gregory
         Chaney, and Gregory Carico based information provided by their customers. I am informed by
         counsel that discovery in the case does not indicate that Case Defendants reported any of these
         prescribers or took action to limit shipments of opioids to fill their prescriptions.




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VIII.    Materials Reviewed
     54. The following documents and data were considered for this analysis. The staff that worked
         under my direction had full and complete access to the documents and data produced in this
         case. The materials were as follows:

         a. IQVIA (formerly Quintiles and IMS Health, Inc.) Xponent® data produced to plaintiffs’
            counsel through bates numbers identified in the Methodology Section XI of this report for
            years 1997-2017;
         b. Drug Emporium dispensing data produced to plaintiff’s counsel through bates numbers
            identified in the Methodology Section XI of this report for years January 1, 2012 to
            December 31, 2018;
         c. “National Drug type Dictionary,” Drug Enforcement Administration, November 2018
            (current version available at www.deadiversion.usdoj.gov/arcos/ndc/ndcfile.txt);
         d. “NDC Dictionary Instructions,” Drug Enforcement Administration, October 2010 (current
            version available at www.deadiversion.usdoj.gov/arcos/ndc/readme.txt);
         e. “National Drug type Directory,” U.S. Food & Drug Administration, January 2018 (current
            version available at https://www.fda.gov/drugs/informationondrugs/ucm142438.htm);
         f. “Opioid Oral Morphine Milligram Equivalent (MME) Conversion Factors,” Centers for
            Disease Control and Prevention, August 2017 (current version available at
            www.cdc.gov/drugoverdose/resources/data.html);
         g. “NDC: Based On Drug Products in the Medicaid Drug Rebate Program,” Centers for Medicare
            and Medicaid Services, April 2019 (current available at https://data.medicaid.gov/Drug-
            Pricing-and-Payment);
         h. “Geocoder,” United States Census (current available at
            https://geocoding.geo.census.gov/geocoder);
         i. “Physician Specialty Codes,” American Medical Association (current version available at
            http://cdn2.hubspot.net/hub/178504/file-2553042497-
            pdf/documents/AMA Physician Specialty Codes.pdf?t=1425245957165)
         j. Other documents cited in the text and Considered Items;




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 IX.     Qualifications
     55. I am the Managing Director for Data Mining & Analytics with Gryphon Strategies, Inc. I was hired
         to create and direct their data mining and analytics division. In my current role, I advise financial
         and law firms on leveraging data for investments and investigations.


     56. Prior to founding Gryphon Strategies’ Data Mining & Analytics division, I founded and directed
         the Research and Analytics Department for the New York State Office of the Attorney General
         (NYS OAG) from 2013 to 2017. As a result of my leadership, the NYS OAG became the first state
         office attorney general to hire a data scientist. I grew my staff from one research assistant to
         seven full-time staff.

     57. I have also worked in various research and analytical positions, including the research
         department of the Service Employees International Union (SEIU) 32BJ, the largest property
         services union in the country. I was also a researcher for the Global Clearinghouse and a
         Teaching Assistant at the New School for Social Research. As a consultant, I have been hired by
         and have provided pro-bono assistance to many state and federal agencies as well as nonprofits
         on the use of data mining and analytics in investigations.

     58. The work I have done throughout my career relates directly to analysis undertaken in this
         report. For over six years, I have employed a data-driven approach to identifying suspicious,
         sometimes illegal, conduct. I have developed a specialty in compiling and analyzing disorganized
         and disparate data. Since 2014, I have been immersed in issues and investigations related to the
         opioid crisis. This analysis drew upon my unique and specialized skillset that has been developed
         over a decade of research and analytical experience.

     59. I was often tasked with identifying instances of wrongdoing by companies. For example, while at
         SEIU 32BJ, I reviewed public records for data to identify wrongdoing by cleaning companies and
         cleaning contractors around the country. For example, through thorough research and
         documentation, I was able to identify a cleaning company that was creating shell companies to
         keep a small business cleaning contract at the Walter Reed Medical Center. SEIU 32BJ submitted
         this information to the General Services Administration. To the best of my knowledge, that
         company or its subsidiaries/affiliates lost the contract for that site.

     60. My primary directive when the NYS OAG’s office hired me was to help the office identify areas
         for investigation using data. Frequently, I was given a subject area to investigate without having
         any prior expertise in the area. I would then educate myself through research and talking with
         subject matter experts to allow me to help them identify new areas of investigation. I often
         would use public data to assist with these investigations. For instance, I combined publicly
         available tax assessor, mortgage records, and real estate listings to identify hundreds of land
         owners potentially out of compliance with the city’s 421-a tax benefit program that the NYS
         OAG investigated with various settlements with landlords.



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     61. My work over the past decade has required me to extract, process, clean, merge, and analyze
         both public and confidential data, which often comes poorly formatted and from disparate
         locations. From these convoluted datasets, I have identified trends and outliers that have
         furthered investigations or prosecution.

     62. For over four years, I have worked extensively on issues relevant to opioids. While at the NYS
         OAG, I developed and managed the Community Overdose Prevention (COP) Program to use data
         analytics to determine how best to deploy life-saving naloxone across law enforcement officers
         statewide. Under that program, I oversaw the collection of information related to naloxone
         disbursements, which jumpstarted tracking opioid overdoses more efficiently throughout the
         state. I used the data I collected, as well as external datasets, to deepen understanding of opioid
         usage in New York State.

     63. I have written or co-authored numerous reports using my data analysis to advance a variety of
         investigations into illegal activity, many of which have been covered by national media outlets.
         For instance, my analysis published in a report issued by the NYS OAG helped reveal AirBnB’s
         illegal activity in New York City. In addition, while at SEIU 32BJ, I authored two papers about the
         physical building conditions of New York City public school facilities, the second of which was
         widely covered by local news and prompted a city council oversight hearing to address the
         issues raised.

     64. In my work, I have frequently received produced data in a format not initially conducive to
         analysis, such as productions containing PDF versions of spreadsheets or thousands of files of
         various formats not described in a volume of bates. In a case that settled for hundreds of
         millions of dollars, I supervised the team that identified and extracted information about
         shipments from the labeler defendant’s production in that case. Because of this analysis, my
         team and I were able to detect millions of improper shipments made in New York State that
         were then used by NYS OAG attorneys in court and ultimately led to the judge ordering the
         labeler defendant in that case to pay almost $250 million in damages.

     65. My experience also includes processing very disorganized data produced by defendants in
         various cases for investigations and prosecution. For a wage theft case brought by the NYS OAG,
         I was asked to identify instances of an employer “stealing time” from employees. To complete
         this analysis, I had to extract information from thousands of PDF employee time cards to
         extrapolate and identify instances of missing time. Based on my analysis, I determined that over
         $500,000 in owed money to employees.

     66. In my work, I supervise complicated data management and analysis. For an NYS OAG
         investigation into posting fake trades in emerging market foreign exchange currency options, I
         used scripts to extract relevant trade information from two years of instant message, email, and
         voice communications between brokers. Working with my team, I then compared that relevant
         information from postings to the trade confirmations of actual completed trades brokered to
         determine which trades were real and which were fabricated. This analysis was relied upon to
         generate a criminal complaint filed by the NYS OAG. The firms ultimately pled guilty to one
         count of securities fraud.


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     67. I am also experienced in working with vast amounts of sensitive information. In developing the
         interactive dashboard on illegal gun trafficking in New York, the Attorney General’s Office
         obtained the anonymized and the highly confidential firearms tracing data from the Bureau of
         Alcohol, Tobacco, Firearms and Explosives. My team and I were granted authorization from
         dozens of police departments to access their firearms trace data on their behalf. I transformed
         that data into an interactive tool used by New York State law enforcement agencies to identify
         potential firearms trafficking, based on analytics relevant to firearms trafficking. This data
         required considerable cleaning and analysis, including geocoding and entity resolution to
         identify the same firearm purchaser that relied on different aliases, addresses, and other
         biographical information to avoid detection.

     68. I frequently am called upon to analyze very large data. While working on investigations of
         broadband internet investigations at the NYS OAG, I collected public speed test data and
         submissions to office made by the general public about the download speed. This preliminary
         analysis was the basis for opening an investigation into the practices of the largest broadband
         providers regarding the internet speeds of its customers. As part of this investigation, I drafted
         the data request to broadband providers for account and other relevant information that would
         impact a customer’s internet speed. I connected several datasets totaling hundreds of millions
         of records, including the customer account data (what internet tier they were provisioned), the
         internet speed test results, as well as information about the modem/router configuration. The
         results of my analysis and the analysis that I supervised were used in the complaint the Attorney
         General filed against Time Warner Cable. The case ultimately settled for $174.2 million.

     69. I received the NYS OAG’s Innovation in Law Enforcement Award for my work on gun trafficking
         and twice received the NYS OAG’s Superior Service Award.

     70. I was a member of the 28th Class of Coro’s Leadership New York and was part of City and State’s
         40 Under 40 Rising Stars in 2016. I serve on the Standards Review Council for the Multifamily
         Operating Standards Assessment & Improvement Council (MOSAIC) – a New York Benefit
         Corporation designed to establish fair and independent operating standards for quality of living
         within the multifamily housing market.

     71. I hold a Master of Economics from the New School and a Bachelor of Business Administration
         from Washburn University.

     72. I was deposed on June 13, 2019, after filing an expert analysis with the multidistrict litigation on
         April 15, 2019.

     73. I was deposed on January 23, 2020, after filing an expert analysis for the Opioid Litigation,
         400000/2017 Relating to Case Nos. County of Suffolk, 400001/2017; County of Nassau,
         400008/2017; and New York State, 400016/2018.

     74. I was deposed on March 6, 2020, after filing an expert analysis for the Tennessee Opioid
         Litigation.

     75. I was an invited speaker at the following conferences:
         a. Association of Certified Fraud Examiners (ACFE) Global Fraud Conference (2019, 2020)
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            b. NASAA Investment Adviser Training (2017, 2019, 2020)
            c. Association of Certified Fraud Examiners (ACFE) Law Enforcement and Government Anti-Fraud
            Summit (2018, 2019)
            d. PLI Hedge Fund and Private Equity Enforcement & Regulatory Developments 2018 (2018)

       76. My CV is attached as Exhibit 1.

      X.     Remuneration
       77. Gryphon is being compensated for its time and expenses. My hourly rate is $475 per hour. Other
           Gryphon personnel working on this matter have billing rates of $150 to $350 per hour.

  XI.       Methodology

             A. IQVIA Xponent®
       78. I first received this data on or around February 1, 2019. I processed this data in my capacity as a
           plaintiff expert witness in re National Prescription Opiate Litigation, MDL No. 2804 Production
           Volume Number thirteen (ALLERGAN-MDL013) containing the following bates range:
           ALLERGAN_MDL_02167865 to ALLERGAN_MDL_02485011.67

       79. The Xponent® Data as it was produced to me has several limitations, which if resolved would
           only strengthen the data. First, there is no NDC value provided with the listed products nor is
           there a crosswalk provided for NDC values and the proprietary IQVIA product codes, although
           the IQVIA documentation states that this is a possibility. Second, there is no NPI number nor is
           there a crosswalk that maps NPI values to the IMS identifiers. Third, filling pharmacy information
           is not provided with the data, even though this information is derived from pharmacy sales
           records. It is my understanding that other data products from IQVIA such as LRX do contain this
           information. Fourth, because the data is projected, IQVIA provides decimal numbers for
           prescriptions and dosage units, which can lead to differences in rounding depending on the level
           of aggregation of the data.

                       a.         Data Fields and Descriptions
       80. There are 168 data files saved as compressed GZIP (.GZ) files. Combined, these files total
           approximately 27 GB compressed and include over 750 million rows, delimited by this character:
           ~. These files are formatted in four distinct schemas. Appendix A of this document details which
           files fall into which schema type and provides the approximate size of each file, compressed.
           Appendix B of this document details the columns found within each schema.




 67“In re National Prescription Opiate Litigation, MDL No. 2804.” Allergan Finance, LLC (f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.),
 August 10, 2018.




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      81. The following are descriptions of the native columns in the IQVIA Xponent® data, based on
          values found in the data itself and the documentation entitled “MHJ IMS Xponent®.”




 68
    U.S. Department of Health and Human Services, “NPPES NPI Registry.” Centers for Medicare and Medicaid,
 https://npiregistry.cms.hhs.gov/
 69 “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017;”IMS MVP Solutions User’s Guide.” IQVIA, 2012Q3
 70 Example sources: “Intended Use of AMA Physician Masterfile Codes for Self-Designation of Practice Specialties/Areas of Practice.” DMD Data,

 March 2009, http://www.dmddata.com/2009_05_sdps.pdf; “AMA Physician Specialty Groups and Codes.” Hubspot,
 http://cdn2.hubspot.net/hub/178504/file-2553042497-pdf/documents/AMA_Physician_Specialty_Codes.pdf?t=1425245957165; American
 Medical Association, “AMA Health Workforce Mapper User Manual.” Advocacy Resource Center, 2016, https://www.ama-assn.org/sites/ama-
 assn.org/files/corp/media-browser/public/arc-public/ama-user-manual.pdf
 71 “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017
 72
    “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017
 73“IMS MVP Solutions User’s Guide.” IQVIA, 2012Q3
 74 “Monthly Data MHJ IMS XPONENT.” IQVIA. No date; National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017


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 76 Ibid.
 77 Ibid.
 78 “IMS MVP Solutions User’s Guide.” IQVIA, 2012Q3
 79 National Library of Medicine – National Institutes of Mental Health, https://dailymed.nlm.nih.gov/dailymed/index.cfm
 80 FDA Online Label Repository.” Food and Drug Administration (FDA), https://labels.fda.gov/.

 81 Examples include: 65505076020, 65505078730, 49999085730, 65505097330, 49999085790, 00591010720, 65505097828, 65505072720,

 65505071430, 54868398600, 48692065325, 54868398602, 54868398605, 48692000525, 43063024430, 16590061786, 65505000525,
 23490929109, 48692000510, 23490929103, 48692065304, 16590061730, 54868398601, 35356078930, 65505074620, 16590061772,
 16590061790, 65505075328, 00591010710, 65505077730, 35356078990, 59011010720, 65505072120, 59011048010, 21695094160,
 59011048020, 48692094850, 65505000510, 65505067128, 54868398604, 65505073420, 59011010725, 16590061760, 23490929106,
 48692000520, 65899010730, 49999085700, 54868398603, 59011010710, 65899010760
 82 “ARCOS NDC Text File.” U.S. Department of Justice, https://www.deadiversion.usdoj.gov/arcos/ndc/ndcfile.txt




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 83 “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017; ”IMS MVP Solutions User’s Guide.” IQVIA, 2012Q3
 84
    Ibid.
 85 “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017; ”IMS MVP Solutions User’s Guide.” IQVIA, 2012Q3
 86 “National Sales Perspectives & National Prescription Audit Overview.” IQVIA, 2017


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                d. Morphine Milligram Equivalent (“MME”) Conversion Factor: The Centers for Disease
                   Control and Prevention (“CDC”) publishes “Opioid Oral Morphine Milligram Equivalent
                   (“MME”) Conversion Factors” that allow for comparison of opioids drugs to one another
                   by the dosage strengths.87 In the case of patches, the CDC provides MME Conversion
                   Factor for Active Numerator Strength measured in micrograms, rather than in
                   milligrams. Since Active Numerator Strength is standardized in milligrams, I converted
                   the MME Conversion Factor accordingly. The table below identifies the conversion
                   factors used for each product.




 87
   “Opioid Oral Morphine Milligram Equivalent (MME) Conversion Factors.” Center for Medicare and Medicaid Services, August 2017
 https://www.cms.gov/Medicare/Prescription-Drug-coverage/PrescriptionDrugCovContra/Downloads/Opioid-Morphine-EQ-Conversion-Factors-
 Aug-2017.pdf
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                        cross county lines, which required me to add the county name for the location of each
                        prescriber to the data via a two-step process. The first step was to assign county names
                        to all prescribers with zip codes that are only associated with one county. In the second
                        step, all prescriber addresses with a zip code associated with more than one county
                        name were put through the United State Census geocoder application programming
                        interface (API).90 The API returned the county Federal Information Processing Standards
                        (FIPS) code for each address.
                        d.         Xponent® Data Reshaping
         85. To allow values to be analyzed (e.g., totals, averages), the IQVIA Xponent® data was pivoted
             such that values that represented as columns were then transposed to rows. For example, here
             is an excerpt of the raw data for prescriber “956690” starting on 12/31/2000.




 90   “Welcome to Geocoder.” United States Census. https://geocoding.geo.census.gov/
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      B. Drug Emporium Dispensing Data
     87. The Drug Emporium data was received on or about June 3rd, 2020 in the following bates range:
         DE0034480- DE0034486.

     88. The data contained dispensing records for Discount Emporium #1, located at 3 Mall Road in
         Barboursville, WV (Cabell County), and included the following columns:
         Date Written, Date, Rx Number, Quan., Day Supply, Last Insurance Paid, Drug, Thera. Class,
         Doctor DEA, Sched, Doctor

     89. The “Date” field was interpreted as the date the prescription was dispensed because there was
         a separate “Date Written” field, and “Quan.” was interpreted as the number of dosage units.

     90. There were seven rows in the data that did not contain any information except RX Number,
         which dropped from the data and not included in the analysis.




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      C. United States Census Data
     92. I obtained and processed population information from the U.S. Census Bureau for the United
         States, which included all states and counties, to calculate per capita averages.

     93. National population was downloaded from the following sources:

             a. 1997 – 1999: https://www.census.gov/population/estimates/state/st-99-7.txt
             b. 2000 – 2009: https://www2.census.gov/programs-surveys/popest/datasets/2000-
                2010/intercensal/state/st-est00int-alldata.csv
             c. 2010 – 2017: https://www2.census.gov/programs-surveys/popest/datasets/2010-
                2017/national/asrh/nc-est2017-agesex-res.csv

     94. National population files were processed using the following steps:

             a. For years between 1997 and 1999, I used the table titled “Population” from the “st-99-
                7.txt” file to determine the national population for each year.

             b. For years between 2000 and 2009, I used the data in the “st-est00int-alldata.csv” file
                listed above to determine the population for each year.

             c. There were two population figures available for 2000. I used the “POPESTIMATE2000”
                field for consistency with population estimates for other years. There were two
                population figures listed for 2010 in this file, but I obtained 2010 population from the
                file containing 2010 to 2017 data.

             d. For years between 2010 and 2017, I used the data in the “nc-est2017-agesex-res.csv”
                file listed above to determine the population for each year. There were three population
                figures available for 2010. I used the “POPESTIMATE2010” field for consistency with
                population estimates for other years.

     95. State population was downloaded from the following sources:

             a. 1997 – 1999: https://www.census.gov/population/estimates/state/st-99-7.txt
             b. 2000 – 2009: https://www2.census.gov/programs-surveys/popest/datasets/2000-
                2010/intercensal/state/st-est00int-alldata.csv
             c. 2010 – 2017: https://www2.census.gov/programs-surveys/popest/datasets/2010-
                2017/state/asrh/sc-est2017-alldata5.csv

     96. State population files were processed using the following steps:

             a. For years between 1997 and 1999, I used This table titled “Population” from the “st-99-
                7.txt” file to determine each state’s population for each year.

             b. For years between 2000 and 2009, I used the data in the “st-est00int-alldata.csv” file
                listed above to determine each state’s population for each year.


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             c. There were two population figures available for 2000, and I used the
                “POPESTIMATE2000” field for consistency with population estimates for other years.
                There were two population figures listed for 2010 in this file, but I obtained 2010
                population from the file containing 2010 to 2017 data.

             d. For years between 2010 and 2017, I used the data in the “sc-est2017-alldata5.csv” file
                listed above to determine the population for each year. There were three population
                figures available for 2010. I used the “POPESTIMATE2010” field for consistency with
                population estimates for other years.

     97. County population was downloaded from the following sources:

             a. 1997-1999: https://www2.census.gov/programs-surveys/popest/datasets/1990-
                2000/counties/asrh/co-99-10.txt

             b. 2000 – 2009: https://www2.census.gov/programs-surveys/popest/datasets/2000-
                2010/intercensal/county/co-est00int-agesex-5yr.csv

             c. 2010 – 2017: https://www2.census.gov/programs-surveys/popest/datasets/2010-
                2017/counties/asrh/cc-est2017-alldata.csv

     98. County population files were processed using the following steps:

             a. For years between 1997 and 1999 I used the data in the “co-99-10.txt” file listed above
                to determine county population for each year. I summed across the eight columns for
                non-Hispanic and Hispanic population to get total population.

             b. For years between 2000 and 2009, I used the data in the “co-est00int-agesex-5yr.csv”
                file listed above to determine county population for each year. There were two
                population figures available for 2000. I used the “POPESTIMATE2000” field for
                consistency with population estimates for other years. There were two population
                figures listed for 2010 in this file, but I obtained 2010 population from the file containing
                2010 to 2017 data.

             c. For years between 2010 and 2017, I used the data in the “cc-est2017-alldata.csv” file
                listed above to determine the population for each year. There were three “YEAR” codes
                that corresponded to 2010. I used code 3 (7/1/2010 population estimate) for
                consistency with population estimates for other years.

             d. Several counties changed names, were added, or were removed between 1997 and
                2017. I used information from the census about these changes
                (https://www.census.gov/geo/reference/county-changes.html) to update population
                data as necessary.




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 Under penalty of perjury, I declare that I have read the foregoing and that the facts alleged therein are
 true and correct to the best of my knowledge and belief.




                 Date: August 3, 2020                                      /s/ Lacey R. Keller
                                                                           Lacey R. Keller




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 XII.    Exhibit 1 – Lacey Keller Resume




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                 CDS.ZWKW.ALLERGAN.XPOPLAN.F1.M04.019.GZ   171.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F1.M04.020.GZ   175.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F1.M04.021.GZ   174.9 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F1.M04.022.GZ   72.4 MB    118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.001.GZ   163.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.002.GZ   161.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.003.GZ   165.9 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.004.GZ   166.2 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.005.GZ   160.4 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.006.GZ   171.0 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.007.GZ   170.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.008.GZ   170.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.009.GZ   167.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.010.GZ   176.4 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.011.GZ   177.0 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.012.GZ   171.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.013.GZ   171.6 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.014.GZ   172.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.015.GZ   172.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.016.GZ   178.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.017.GZ   180.5 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.018.GZ   180.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.019.GZ   170.0 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.020.GZ   166.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.021.GZ   169.2 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.022.GZ   175.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.023.GZ   168.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F2.M04.024.GZ   13.1 MB    118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.001.GZ   154.9 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.002.GZ   155.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.003.GZ   155.9 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.004.GZ   155.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.005.GZ   155.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.006.GZ   149.0 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.007.GZ   159.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.008.GZ   158.0 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.009.GZ   160.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.010.GZ   161.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.011.GZ   164.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.012.GZ   163.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.013.GZ   163.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.014.GZ   157.5 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.015.GZ   157.5 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.016.GZ   164.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.017.GZ   159.9 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.018.GZ   159.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.019.GZ   165.1 MB   118_cols
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                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.020.GZ    162.5 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.021.GZ    162.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.022.GZ    165.2 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.023.GZ    157.4 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.024.GZ    150.9 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.025.GZ    155.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.026.GZ    158.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.027.GZ    164.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.028.GZ    157.4 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F3.M04.029.GZ    82.6 MB    118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.001.GZ    148.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.002.GZ    149.4 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.003.GZ    150.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.004.GZ    147.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.005.GZ    148.5 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.006.GZ    142.4 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.007.GZ    150.6 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.008.GZ    151.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.009.GZ    152.0 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.010.GZ    154.5 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.011.GZ    157.2 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.012.GZ    154.0 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.013.GZ    154.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.014.GZ    147.4 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.015.GZ    148.9 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.016.GZ    152.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.017.GZ    152.8 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.018.GZ    151.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.019.GZ    154.9 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.020.GZ    152.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.021.GZ    153.2 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.022.GZ    152.7 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.023.GZ    152.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.024.GZ    146.0 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.025.GZ    144.6 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.026.GZ    149.3 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.027.GZ    152.1 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.028.GZ    153.0 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F4.M04.029.GZ    137.1 MB   118_cols
                 CDS.ZWKW1.ALLERGAN.XPOPLAN.F1.M07.001.GZ   77.8 MB    118_cols
                 CDS.ZWKW1.ALLERGAN.XPOPLAN.F2.M07.001.GZ   100.1 MB   118_cols
                 CDS.ZWKW1.ALLERGAN.XPOPLAN.F3.M07.001.GZ   132.3 MB   118_cols
                 CDS.ZWKW1.ALLERGAN.XPOPLAN.F4.M07.001.GZ   133.5 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.001.GZ       163.5 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.002.GZ       161.8 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.003.GZ       160.5 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.004.GZ       153.8 MB   118_cols
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                       NRX.GR57E20H.C777R88.D3.005.GZ       153.1 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.006.GZ       149.1 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.007.GZ       155.1 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.008.GZ       158.0 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.009.GZ       155.0 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.010.GZ       153.1 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.011.GZ       154.3 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.012.GZ       153.0 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.013.GZ       151.6 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.014.GZ       149.6 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.015.GZ       148.2 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.016.GZ       147.3 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.017.GZ       148.0 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.018.GZ       145.8 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.019.GZ       145.7 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.020.GZ       144.9 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.021.GZ       144.0 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.022.GZ       143.5 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.023.GZ       143.3 MB   118_cols
                       NRX.GR57E20H.C777R88.D3.024.GZ       42.1 MB    118_cols
                       NRX.GS57E20H.C777R88.D3.001.GZ       135.4 MB   118_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F5.M04.001.GZ    196.3 MB   38_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F5.M04.002.GZ    190.4 MB   38_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F5.M04.003.GZ    194.1 MB   38_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F5.M04.004.GZ    195.3 MB   38_cols
                 CDS.ZWKW.ALLERGAN.XPOPLAN.F5.M04.005.GZ    41.3 MB    38_cols
                 CDS.ZWKW1.ALLERGAN.XPOPLAN.F5.M07.001.GZ   41.3 MB    50_cols
                    CDS.ZWKT.ALLERGAN.XPO.F6.M04.001.GZ     289.9 MB   70_cols
                    CDS.ZWKT.ALLERGAN.XPO.F6.M04.002.GZ     277.8 MB   70_cols
                    CDS.ZWKT.ALLERGAN.XPO.F6.M04.003.GZ     89.4 MB    70_cols
                   CDS.ZWKT1.ALLERGAN.XPO.F6.M07.001.GZ      12. MB    70_cols




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    new_rx_18_month
    new_rx_19_month
    new_rx_20_month
    new_rx_21_month
    new_rx_22_month
    new_rx_23_month
    new_rx_24_month
    total_rx_1_month      total_rx_1_month        total_rx_1_month   total_rx_1_month
    total_rx_2_month      total_rx_2_month        total_rx_2_month   total_rx_2_month
    total_rx_3_month      total_rx_3_month        total_rx_3_month   total_rx_3_month
    total_rx_4_month      total_rx_4_month        total_rx_4_month   total_rx_4_month
    total_rx_5_month      total_rx_5_month        total_rx_5_month
    total_rx_6_month      total_rx_6_month        total_rx_6_month
    total_rx_7_month      total_rx_7_month        total_rx_7_month
    total_rx_8_month      total_rx_8_month
    total_rx_9_month      total_rx_9_month
   total_rx_10_month     total_rx_10_month
   total_rx_11_month     total_rx_11_month
   total_rx_12_month     total_rx_12_month
   total_rx_13_month
   total_rx_14_month
   total_rx_15_month
   total_rx_16_month
   total_rx_17_month
   total_rx_18_month
   total_rx_19_month
   total_rx_20_month
   total_rx_21_month
   total_rx_22_month
   total_rx_23_month
   total_rx_24_month
   new_qty_1_month      new_qty_1_month           new_qty_1_month    new_qty_1_month
   new_qty_2_month      new_qty_2_month           new_qty_2_month    new_qty_2_month
   new_qty_3_month      new_qty_3_month           new_qty_3_month    new_qty_3_month
   new_qty_4_month      new_qty_4_month           new_qty_4_month    new_qty_4_month
   new_qty_5_month      new_qty_5_month           new_qty_5_month
   new_qty_6_month      new_qty_6_month           new_qty_6_month
   new_qty_7_month      new_qty_7_month           new_qty_7_month
   new_qty_8_month      new_qty_8_month
   new_qty_9_month      new_qty_9_month
   new_qty_10_month     new_qty_10_month
   new_qty_11_month     new_qty_11_month
   new_qty_12_month     new_qty_12_month
   new_qty_13_month
   new_qty_14_month
   new_qty_15_month
   new_qty_16_month
 CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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   new_qty_17_month
   new_qty_18_month
   new_qty_19_month
   new_qty_20_month
   new_qty_21_month
   new_qty_22_month
   new_qty_23_month
   new_qty_24_month
    total_qty_1_month    total_qty_1_month        total_qty_1_month   total_qty_1_month
    total_qty_2_month    total_qty_2_month        total_qty_2_month   total_qty_2_month
    total_qty_3_month    total_qty_3_month        total_qty_3_month   total_qty_3_month
    total_qty_4_month    total_qty_4_month        total_qty_4_month   total_qty_4_month
    total_qty_5_month    total_qty_5_month        total_qty_5_month
    total_qty_6_month    total_qty_6_month        total_qty_6_month
    total_qty_7_month    total_qty_7_month        total_qty_7_month
    total_qty_8_month    total_qty_8_month
    total_qty_9_month    total_qty_9_month
   total_qty_10_month   total_qty_10_month
   total_qty_11_month   total_qty_11_month
   total_qty_12_month   total_qty_12_month
   total_qty_13_month
   total_qty_14_month
   total_qty_15_month
   total_qty_16_month
   total_qty_17_month
   total_qty_18_month
   total_qty_19_month
   total_qty_20_month
   total_qty_21_month
   total_qty_22_month
   total_qty_23_month
   total_qty_24_month




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        02OAN             Obstetric Anesthesiology            ANESTHESIOLOGY
        01OAN             Obstetric Anesthesiology            ANESTHESIOLOGY
                          Pediatric Anesthesiology -
        01PAN                                                 ANESTHESIOLOGY
                               Anesthesiology
                          Pediatric Anesthesiology -
        02PAN                                                 ANESTHESIOLOGY
                               Anesthesiology
        01PDN             Pediatrics/Anesthesiology           ANESTHESIOLOGY
        01PMR                                                 ANESTHESIOLOGY
        02PMR                                                 ANESTHESIOLOGY
                   Adult Cardiothoracic Anesthesiology -
        01ACA                                                   CARDIOLOGY
                              Anesthesiology
                   Adult Cardiothoracic Anesthesiology -
        02ACA                                                   CARDIOLOGY
                              Anesthesiology
                   Advanced Heart Failure and Transplant
        01AHF                                                   CARDIOLOGY
                                Cardiology
         02CD             Cardiovascular Disease                CARDIOLOGY
         01CD             Cardiovascular Disease                CARDIOLOGY
        01CDS                                                   CARDIOLOGY
        02CDS                                                   CARDIOLOGY
        01CHD          Adult Congenital Heart Disease           CARDIOLOGY
                    Congenital Cardiac Surgery - Thoracic
        01CHS                                                   CARDIOLOGY
                                    Surgery
        01CTR              Cardiothoracic Radiology             CARDIOLOGY
        02CTR              Cardiothoracic Radiology             CARDIOLOGY
         01IC             Interventional Cardiology             CARDIOLOGY
         02IC             Interventional Cardiology             CARDIOLOGY
        02ICE         Clinical Cardiac Electrophysiology        CARDIOLOGY
        01ICE         Clinical Cardiac Electrophysiology        CARDIOLOGY
         01NC                 Nuclear Cardiology                CARDIOLOGY
        01PCS         Pediatric Cardiothoracic Surgery          CARDIOLOGY
        01PDC                Pediatric Cardiology               CARDIOLOGY
        02PDC                Pediatric Cardiology               CARDIOLOGY
        01VM                   Vascular Medicine                CARDIOLOGY
        02VM                   Vascular Medicine                CARDIOLOGY
        04DGP                                                    DENTISTRY
          02D                     Dermatology                  DERMATOLOGY
          01D                     Dermatology                  DERMATOLOGY
                    Clinical and Laboratory Dermatological
        01DDL                                                  DERMATOLOGY
                                  Immunology
        01DMP                  Dermatopathology                DERMATOLOGY
        02DMP                  Dermatopathology                DERMATOLOGY
        02PDD                Pediatric Dermatology             DERMATOLOGY
        01PDD                Pediatric Dermatology             DERMATOLOGY
        01PRD               Procedural Dermatology             DERMATOLOGY
        02PRD               Procedural Dermatology             DERMATOLOGY
        02ACC       Anesthesiology Critical Care Medicine    EMERGENCY/CRITICAL
        01ACC       Anesthesiology Critical Care Medicine    EMERGENCY/CRITICAL
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        01CCA      Critical Care Medicine - Anesthesiology    EMERGENCY/CRITICAL
        02CCA      Critical Care Medicine - Anesthesiology    EMERGENCY/CRITICAL
        01CCE                Critical Care Medicine           EMERGENCY/CRITICAL
                       Critical Care Medicine - Internal
        01CCM                                                 EMERGENCY/CRITICAL
                                    Medicine
                       Critical Care Medicine - Internal
        02CCM                                                 EMERGENCY/CRITICAL
                                    Medicine
        02CCP          Pediatric Critical Care Medicine       EMERGENCY/CRITICAL
        01CCP          Pediatric Critical Care Medicine       EMERGENCY/CRITICAL
        01CIE                                                 EMERGENCY/CRITICAL
        02EM                  Emergency Medicine              EMERGENCY/CRITICAL
        01EM                  Emergency Medicine              EMERGENCY/CRITICAL
       01EMP            Pediatrics/Emergency Medicine         EMERGENCY/CRITICAL
       02EMP            Pediatrics/Emergency Medicine         EMERGENCY/CRITICAL
       02EMS              Emergency Medical Services          EMERGENCY/CRITICAL
       01EMS              Emergency Medical Services          EMERGENCY/CRITICAL
       01MEM       Internal Medicine/Emergency Medicine       EMERGENCY/CRITICAL
       02MEM       Internal Medicine/Emergency Medicine       EMERGENCY/CRITICAL
                    Critical Care Medicine - Obstetrics and
        02OCC                                                 EMERGENCY/CRITICAL
                                   Gynecology
                    Critical Care Medicine - Obstetrics and
        01OCC                                                 EMERGENCY/CRITICAL
                                   Gynecology
        02PCC          Pulmonary Critical Care Medicine       EMERGENCY/CRITICAL
        01PCC          Pulmonary Critical Care Medicine       EMERGENCY/CRITICAL
                        Pediatric Emergency Medicine -
         01PE                                                 EMERGENCY/CRITICAL
                              Emergency Medicine
                        Pediatric Emergency Medicine -
         02PE                                                 EMERGENCY/CRITICAL
                              Emergency Medicine
                        Pediatric Emergency Medicine -
        02PEM                                                 EMERGENCY/CRITICAL
                                    Pediatrics
                        Pediatric Emergency Medicine -
        01PEM                                                 EMERGENCY/CRITICAL
                                    Pediatrics
        01DIA                       Diabetes                   ENDOCRINOLOGY
        02DIA                       Diabetes                   ENDOCRINOLOGY
                         Endocrinology, Diabetes, and
        02END                                                  ENDOCRINOLOGY
                                  Metabolism
                         Endocrinology, Diabetes, and
        01END                                                  ENDOCRINOLOGY
                                  Metabolism
        02PDE                Pediatric Endocrinology           ENDOCRINOLOGY
        01PDE                Pediatric Endocrinology           ENDOCRINOLOGY
                       Reproductive Endocrinology and
        01REN                                                  ENDOCRINOLOGY
                                    Infertility
                       Reproductive Endocrinology and
        02REN                                                  ENDOCRINOLOGY
                                    Infertility
        01CIF                                                  FAMILY/GENERAL
        02FM                  Family Medicine                  FAMILY/GENERAL
        01FM                  Family Medicine                  FAMILY/GENERAL
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        01FPP          Psychiatry/Family Medicine               FAMILY/GENERAL
        02FPP          Psychiatry/Family Medicine               FAMILY/GENERAL
         01GP               General Practice                    FAMILY/GENERAL
         02GP               General Practice                    FAMILY/GENERAL
        02GPM          General Preventive Medicine              FAMILY/GENERAL
        01GPM          General Preventive Medicine              FAMILY/GENERAL
         01IAN                                                  FAMILY/GENERAL
         01IFP       Internal Medicine/Family Medicine          FAMILY/GENERAL
         02IFP       Internal Medicine/Family Medicine          FAMILY/GENERAL
         02IM                  Internal Medicine                FAMILY/GENERAL
         01IM                  Internal Medicine                FAMILY/GENERAL
        01IMA         Internal Medicine/Anesthesiology          FAMILY/GENERAL
        02IPM      Internal Medicine/Preventive Medicine        FAMILY/GENERAL
        01IPM      Internal Medicine/Preventive Medicine        FAMILY/GENERAL
         02MP            Internal Medicine/Psychiatry           FAMILY/GENERAL
         01MP            Internal Medicine/Psychiatry           FAMILY/GENERAL
        01MPD            Internal Medicine/Pediatrics           FAMILY/GENERAL
        02MPD            Internal Medicine/Pediatrics           FAMILY/GENERAL
        06NRP                                                   FAMILY/GENERAL
        07PHA                                                   FAMILY/GENERAL
                   Public Health and General Preventive
        01PHP                                                   FAMILY/GENERAL
                                  Medicine
                   Public Health and General Preventive
        02PHP                                                   FAMILY/GENERAL
                                  Medicine
         02GE                Gastroenterology                 GASTROENTEROLOGY
         01GE                Gastroenterology                 GASTROENTEROLOGY
        01CBG          Clinical Biochemical Genetics               GENETICS
        01CCG               Clinical Cytogenetics                  GENETICS
         01CG                 Clinical Genetics                    GENETICS
         02CG                 Clinical Genetics                    GENETICS
        01CMG           Clinical Molecular Genetics                GENETICS
         01MG                 Medical Genetics                     GENETICS
         02MG                 Medical Genetics                     GENETICS
                   Molecular Genetic Pathology - Medical
       01MGG                                                       GENETICS
                                   Genetics
                      Molecular Genetic Pathology -
        01MGP                                                      GENETICS
                                  Pathology
        01FPG      Geriatric Medicine - Family Medicine           GERIATRICS
        02FPG      Geriatric Medicine - Family Medicine           GERIATRICS
        01IMG      Geriatric Medicine - Internal Medicine         GERIATRICS
        02IMG      Geriatric Medicine - Internal Medicine         GERIATRICS
        02BBK      Blood Banking/Transfusion Medicine       HEMATOLOGY/PHLEBOTOMY
        01BBK      Blood Banking/Transfusion Medicine       HEMATOLOGY/PHLEBOTOMY
        02HEM        Hematology - Internal Medicine         HEMATOLOGY/PHLEBOTOMY
        01HEM        Hematology - Internal Medicine         HEMATOLOGY/PHLEBOTOMY
        01HMP             Hematology - Pathology            HEMATOLOGY/PHLEBOTOMY
        02HMP             Hematology - Pathology            HEMATOLOGY/PHLEBOTOMY
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        02PHL                     Phlebology               HEMATOLOGY/PHLEBOTOMY
        01PHL                     Phlebology               HEMATOLOGY/PHLEBOTOMY
        02HEP                     Hepatology                    HEPATOLOGY
        01HEP                     Hepatology                    HEPATOLOGY
        01PTP          Pediatric Transplant Hepatology          HEPATOLOGY
                      Transplant Hepatology - Internal
        02THP                                                   HEPATOLOGY
                                   Medicine
                      Transplant Hepatology - Internal
        01THP                                                   HEPATOLOGY
                                   Medicine
                       Medical Toxicology - Emergency
        01ETX                                                MEDICAL TOXICOLOGY
                                   Medicine
                       Medical Toxicology - Emergency
        02ETX                                                MEDICAL TOXICOLOGY
                                   Medicine
        01PDT          Medical Toxicology - Pediatrics       MEDICAL TOXICOLOGY
                       Medical Toxicology - Preventive
        01PTX                                                MEDICAL TOXICOLOGY
                                   Medicine
        02NEP                     Nephrology                    NEPHROLOGY
        01NEP                     Nephrology                    NEPHROLOGY
         02PN               Pediatric Nephrology                NEPHROLOGY
         01PN               Pediatric Nephrology                NEPHROLOGY
        01BIN               Brain Injury Medicine               NEUROLOGY
        01BIP               Brain Injury Medicine               NEUROLOGY
        01CHN                  Child Neurology                  NEUROLOGY
        02CHN                  Child Neurology                  NEUROLOGY
         01CN             Clinical Neurophysiology              NEUROLOGY
         02CN             Clinical Neurophysiology              NEUROLOGY
        01ENR       Endovascular Surgical Neuroradiology        NEUROLOGY
        02ENR       Endovascular Surgical Neuroradiology        NEUROLOGY
        01EPL                       Epilepsy                    NEUROLOGY
         01ES       Endovascular Surgical Neuroradiology        NEUROLOGY
        01ESN       Endovascular Surgical Neuroradiology        NEUROLOGY
          01N                     Neurology                     NEUROLOGY
          02N                     Neurology                     NEUROLOGY
                      Neurodevelopmental Disabilities -
        02NDN                                                   NEUROLOGY
                          Psychiatry and Neurology
                      Neurodevelopmental Disabilities -
        01NDN                                                   NEUROLOGY
                          Psychiatry and Neurology
                      Neurodevelopmental Disabilities -
        01NDP                                                   NEUROLOGY
                                   Pediatrics
       01NMN        Neuromuscular Medicine - Neurology          NEUROLOGY
       02NMN        Neuromuscular Medicine - Neurology          NEUROLOGY
                     Neuromuscular Medicine - Physical
        01NMP                                                   NEUROLOGY
                         Medicine and Rehabilitation
                     Neuromuscular Medicine - Physical
        02NMP                                                   NEUROLOGY
                         Medicine and Rehabilitation
        01NO            Neurotology - Otolaryngology            NEUROLOGY
        02NO            Neurotology - Otolaryngology            NEUROLOGY
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        01NP                  Neuropathology                   NEUROLOGY
         02NS              Neurological Surgery                NEUROLOGY
         01NS              Neurological Surgery                NEUROLOGY
        01PYN              Psychiatry/Neurology                NEUROLOGY
        02PYN              Psychiatry/Neurology                NEUROLOGY
       01RNR                  Neuroradiology                   NEUROLOGY
       02RNR                  Neuroradiology                   NEUROLOGY
        02VN                Vascular Neurology                 NEUROLOGY
        01VN                Vascular Neurology                 NEUROLOGY
       02NTR                     Nutrition                      NUTRITION
       01NTR                     Nutrition                      NUTRITION
       02GYN                    Gynecology                OBSTETRICS/GYNECOLOGY
       01GYN                    Gynecology                OBSTETRICS/GYNECOLOGY
       02MFM           Maternal and Fetal Medicine        OBSTETRICS/GYNECOLOGY
       01MFM           Maternal and Fetal Medicine        OBSTETRICS/GYNECOLOGY
       02NPM           Neonatal-Perinatal Medicine        OBSTETRICS/GYNECOLOGY
       01NPM           Neonatal-Perinatal Medicine        OBSTETRICS/GYNECOLOGY
       02OBG            Obstetrics and Gynecology         OBSTETRICS/GYNECOLOGY
       01OBG            Obstetrics and Gynecology         OBSTETRICS/GYNECOLOGY
        02OBS                    Obstetrics               OBSTETRICS/GYNECOLOGY
        01OBS                    Obstetrics               OBSTETRICS/GYNECOLOGY
        01GO             Gynecological Oncology                 ONCOLOGY
        02GO             Gynecological Oncology                 ONCOLOGY
        01HO              Hematology/Oncology                   ONCOLOGY
        02HO              Hematology/Oncology                   ONCOLOGY
       02OMO            Musculoskeletal Oncology                ONCOLOGY
       01OMO            Musculoskeletal Oncology                ONCOLOGY
        02ON                 Medical Oncology                   ONCOLOGY
        01ON                 Medical Oncology                   ONCOLOGY
       01PHO          Pediatric Hematology/Oncology             ONCOLOGY
       02PHO          Pediatric Hematology/Oncology             ONCOLOGY
        02RO                Radiation Oncology                  ONCOLOGY
        01RO                Radiation Oncology                  ONCOLOGY
         01TR                                                   ONCOLOGY
         02TR                                                   ONCOLOGY
       02OPH                  Ophthalmology                  OPHTHALMOLOGY
       01OPH                  Ophthalmology                  OPHTHALMOLOGY
        02PO              Pediatric Ophthalmology            OPHTHALMOLOGY
        01PO              Pediatric Ophthalmology            OPHTHALMOLOGY
       01ESM       Sports Medicine - Emergency Medicine        ORTHOPEDICS
       02ESM       Sports Medicine - Emergency Medicine        ORTHOPEDICS
       01FSM         Sports Medicine - Family Medicine         ORTHOPEDICS
       02FSM         Sports Medicine - Family Medicine         ORTHOPEDICS
        01ISM       Sports Medicine - Internal Medicine        ORTHOPEDICS
        02ISM       Sports Medicine - Internal Medicine        ORTHOPEDICS
       02OAR         Adult Reconstructive Orthopedics          ORTHOPEDICS
       01OAR         Adult Reconstructive Orthopedics          ORTHOPEDICS
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        02OFA           Foot and Ankle, Orthopedics               ORTHOPEDICS
        01OFA           Foot and Ankle, Orthopedics               ORTHOPEDICS
         01OP               Pediatric Orthopedics                 ORTHOPEDICS
         02OP               Pediatric Orthopedics                 ORTHOPEDICS
        02OSM       Sports Medicine - Orthopedic Surgery          ORTHOPEDICS
        01OSM       Sports Medicine - Orthopedic Surgery          ORTHOPEDICS
        02OTR           Orthopedic Trauma Surgery                 ORTHOPEDICS
        01OTR           Orthopedic Trauma Surgery                 ORTHOPEDICS
                     Sports Medicine - Physical Medicine
        01PRS                                                     ORTHOPEDICS
                             and Rehabilitation
                     Sports Medicine - Physical Medicine
        02PRS                                                     ORTHOPEDICS
                             and Rehabilitation
        02PSM           Sports Medicine - Pediatrics              ORTHOPEDICS
        01PSM           Sports Medicine - Pediatrics              ORTHOPEDICS
         18ND                                                   OTHER SPECIALTY
        09OPT                                                   OTHER SPECIALTY
         01OS                 Other Specialty                   OTHER SPECIALTY
         02OS                 Other Specialty                   OTHER SPECIALTY
        08POD                                                   OTHER SPECIALTY
         01TY                                              OTHER/UNSPECIFIED SPECIALTY
         17US               Unspecified Specialty          OTHER/UNSPECIFIED SPECIALTY
         02US               Unspecified Specialty          OTHER/UNSPECIFIED SPECIALTY
         99US               Unspecified Specialty          OTHER/UNSPECIFIED SPECIALTY
         03US               Unspecified Specialty          OTHER/UNSPECIFIED SPECIALTY
         01US               Unspecified Specialty          OTHER/UNSPECIFIED SPECIALTY
        02APM          Pain Medicine - Anesthesiology            PAIN MEDICINE
        01APM          Pain Medicine - Anesthesiology            PAIN MEDICINE
                      Hospice and Palliative Medicine -
        02HPA                                                    PAIN MEDICINE
                               Anesthesiology
                      Hospice and Palliative Medicine -
        01HPA                                                    PAIN MEDICINE
                               Anesthesiology
                      Hospice and Palliative Medicine -
        01HPD                                                    PAIN MEDICINE
                                 Radiology
                      Hospice and Palliative Medicine -
        02HPE                                                    PAIN MEDICINE
                            Emergency Medicine
                      Hospice and Palliative Medicine -
        01HPE                                                    PAIN MEDICINE
                            Emergency Medicine
                      Hospice and Palliative Medicine -
        01HPF                                                    PAIN MEDICINE
                              Family Medicine
                      Hospice and Palliative Medicine -
        02HPF                                                    PAIN MEDICINE
                              Family Medicine
                      Hospice and Palliative Medicine -
        02HPI                                                    PAIN MEDICINE
                             Internal Medicine
                      Hospice and Palliative Medicine -
        01HPI                                                    PAIN MEDICINE
                             Internal Medicine
        01HPM         Hospice and Palliative Medicine            PAIN MEDICINE
        02HPM         Hospice and Palliative Medicine            PAIN MEDICINE
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                     Hospice and Palliative Medicine -
        01HPN                                                   PAIN MEDICINE
                         Psychiatry and Neurology
                     Hospice and Palliative Medicine -
        01HPO                                                   PAIN MEDICINE
                         Obstetrics and Gynecology
                     Hospice and Palliative Medicine -
        01HPP                                                   PAIN MEDICINE
                                  Pediatrics
                     Hospice and Palliative Medicine -
        01HPR                                                   PAIN MEDICINE
                    Physical Medicine and Rehabilitation
                     Hospice and Palliative Medicine -
        02HPR                                                   PAIN MEDICINE
                    Physical Medicine and Rehabilitation
        01PLM                Palliative Medicine                PAIN MEDICINE
        02PLM                Palliative Medicine                PAIN MEDICINE
        02PMD                   Pain Medicine                   PAIN MEDICINE
        01PMD                   Pain Medicine                   PAIN MEDICINE
        02PMN            Pain Medicine - Neurology              PAIN MEDICINE
        01PMN            Pain Medicine - Neurology              PAIN MEDICINE
        01PPN            Pain Medicine - Psychiatry             PAIN MEDICINE
        02ATP                Anatomic Pathology            PATHOLOGY/EPIDEMIOLOGY
        01ATP                Anatomic Pathology            PATHOLOGY/EPIDEMIOLOGY
         01CLP                Clinical Pathology           PATHOLOGY/EPIDEMIOLOGY
         02CLP                Clinical Pathology           PATHOLOGY/EPIDEMIOLOGY
         01EP                   Epidemiology               PATHOLOGY/EPIDEMIOLOGY
         02EP                   Epidemiology               PATHOLOGY/EPIDEMIOLOGY
        01FOP                Forensic Pathology            PATHOLOGY/EPIDEMIOLOGY
        02FOP                Forensic Pathology            PATHOLOGY/EPIDEMIOLOGY
          01ID                Infectious Disease           PATHOLOGY/EPIDEMIOLOGY
          02ID                Infectious Disease           PATHOLOGY/EPIDEMIOLOGY
        01PCH                Chemical Pathology            PATHOLOGY/EPIDEMIOLOGY
        01PCP                   Cytopathology              PATHOLOGY/EPIDEMIOLOGY
        02PCP                   Cytopathology              PATHOLOGY/EPIDEMIOLOGY
         01PDI          Pediatric Infectious Disease       PATHOLOGY/EPIDEMIOLOGY
         02PDI          Pediatric Infectious Disease       PATHOLOGY/EPIDEMIOLOGY
         01PP                Pediatric Pathology           PATHOLOGY/EPIDEMIOLOGY
         02PP                Pediatric Pathology           PATHOLOGY/EPIDEMIOLOGY
        02PTH           Anatomic/Clinical Pathology        PATHOLOGY/EPIDEMIOLOGY
        01PTH           Anatomic/Clinical Pathology        PATHOLOGY/EPIDEMIOLOGY
         02SP                Selective Pathology           PATHOLOGY/EPIDEMIOLOGY
         01SP                Selective Pathology           PATHOLOGY/EPIDEMIOLOGY
        01ADL         Adolescent Medicine - Pediatrics           PEDIATRICS
        02ADL         Adolescent Medicine - Pediatrics           PEDIATRICS
                       Adolescent Medicine - Internal
        02AMI                                                    PEDIATRICS
                                   Medicine
                       Adolescent Medicine - Internal
        01AMI                                                    PEDIATRICS
                                   Medicine
        01CAP              Child Abuse Pediatrics                PEDIATRICS
        01CID                                                    PEDIATRICS
        02DBP       Developmental-Behavioral Pediatrics          PEDIATRICS
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        01DBP       Developmental-Behavioral Pediatrics          PEDIATRICS
         02PD                    Pediatrics                      PEDIATRICS
         01PD                    Pediatrics                      PEDIATRICS
         02PG           Pediatric Gastroenterology               PEDIATRICS
         01PG           Pediatric Gastroenterology               PEDIATRICS
         01PA             Clinical Pharmacology               PHARMACOLOGY
         02PA             Clinical Pharmacology               PHARMACOLOGY
        01PHM            Pharmaceutical Medicine              PHARMACOLOGY
        17PHR                                                 PHARMACOLOGY
                                                           PHYSICAL/OCCUPATIONAL
        02OM               Occupational Medicine
                                                               REHABILITATION
                                                           PHYSICAL/OCCUPATIONAL
        01OM               Occupational Medicine
                                                               REHABILITATION
                                                           PHYSICAL/OCCUPATIONAL
       02OMM         Osteopathic Manipulative Medicine
                                                               REHABILITATION
                                                           PHYSICAL/OCCUPATIONAL
       01OMM         Osteopathic Manipulative Medicine
                                                               REHABILITATION
                                                           PHYSICAL/OCCUPATIONAL
        02PM        Physical Medicine and Rehabilitation
                                                               REHABILITATION
                                                           PHYSICAL/OCCUPATIONAL
        01PM        Physical Medicine and Rehabilitation
                                                               REHABILITATION
                                                           PHYSICAL/OCCUPATIONAL
        01PRM         Pediatric Rehabilitation Medicine
                                                               REHABILITATION
                                                           PHYSICAL/OCCUPATIONAL
        02PRM         Pediatric Rehabilitation Medicine
                                                               REHABILITATION
                                                           PHYSICAL/OCCUPATIONAL
         02SCI          Spinal Cord Injury Medicine
                                                               REHABILITATION
                                                           PHYSICAL/OCCUPATIONAL
         01SCI          Spinal Cord Injury Medicine
                                                               REHABILITATION
        01ADP               Addiction Psychiatry                 PSYCHIATRY
        02ADP               Addiction Psychiatry                 PSYCHIATRY
        02CHP         Child and Adolescent Psychiatry            PSYCHIATRY
        01CHP         Child and Adolescent Psychiatry            PSYCHIATRY
                      Pediatrics/Psychiatry/Child and
        02CPP                                                   PSYCHIATRY
                           Adolescent Psychiatry
                      Pediatrics/Psychiatry/Child and
        01CPP                                                   PSYCHIATRY
                           Adolescent Psychiatry
         01P                     Psychiatry                     PSYCHIATRY
         02P                     Psychiatry                     PSYCHIATRY
        02PFP                Forensic Psychiatry                PSYCHIATRY
        01PFP                Forensic Psychiatry                PSYCHIATRY
        99PSY                                                   PSYCHIATRY
        01PYA                 Psychoanalysis                    PSYCHIATRY
        02PYG               Geriatric Psychiatry                PSYCHIATRY
        01PYG               Geriatric Psychiatry                PSYCHIATRY
        02PDP              Pediatric Pulmonology               PULMONOLOGY
        01PDP              Pediatric Pulmonology               PULMONOLOGY
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        01PUD                Pulmonary Disease              PULMONOLOGY
        02PUD                Pulmonary Disease              PULMONOLOGY
         01AR               Abdominal Radiology               RADIOLOGY
         02AR               Abdominal Radiology               RADIOLOGY
         01DR               Diagnostic Radiology              RADIOLOGY
         02DR               Diagnostic Radiology              RADIOLOGY
         01IRI                                                RADIOLOGY
        02MSR            Musculoskeletal Radiology            RADIOLOGY
        01MSR            Musculoskeletal Radiology            RADIOLOGY
        01PDR              Pediatric Radiology                RADIOLOGY
        02PDR              Pediatric Radiology                RADIOLOGY
          01R                   Radiology                     RADIOLOGY
          02R                   Radiology                     RADIOLOGY
        01RAA                                                 RADIOLOGY
        01VIR       Vascular and Interventional Radiology     RADIOLOGY
        02VIR       Vascular and Interventional Radiology     RADIOLOGY
        02MM                Medical Microbiology               RESEARCH
        01MM                Medical Microbiology               RESEARCH
         01RP                Radiological Physics              RESEARCH
        02PPR             Pediatric Rheumatology            RHEUMATOLOGY
        01PPR             Pediatric Rheumatology            RHEUMATOLOGY
        01RHU                  Rheumatology                 RHEUMATOLOGY
        02RHU                  Rheumatology                 RHEUMATOLOGY
        01SME                  Sleep Medicine               SLEEP MEDICINE
        02SME                  Sleep Medicine               SLEEP MEDICINE
         02AS                Abdominal Surgery                 SURGERY
         01AS                Abdominal Surgery                 SURGERY
        02CCS          Surgical Critical Care - Surgery        SURGERY
        01CCS          Surgical Critical Care - Surgery        SURGERY
        01CFS                Craniofacial Surgery              SURGERY
        02CRS             Colon and Rectal Surgery             SURGERY
        01CRS             Colon and Rectal Surgery             SURGERY
        02CTS                                                  SURGERY
        01CTS                                                  SURGERY
         01DS              Dermatologic Surgery                SURGERY
         02DS              Dermatologic Surgery                SURGERY
                        Female Pelvic Medicine and
        01FPR                                                  SURGERY
                          Reconstructive Surgery
        02FPS              Facial Plastic Surgery              SURGERY
        01FPS              Facial Plastic Surgery              SURGERY
         02GS                General Surgery                   SURGERY
         01GS                General Surgery                   SURGERY
        02HNS             Head and Neck Surgery                SURGERY
        01HNS             Head and Neck Surgery                SURGERY
         01HS                  Hand Surgery                    SURGERY
         02HS                  Hand Surgery                    SURGERY
        01HSO           Hand Surgery - Orthopedics             SURGERY
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        02HSO           Hand Surgery - Orthopedics          SURGERY
        01HSP          Hand Surgery - Plastic Surgery       SURGERY
        02HSP          Hand Surgery - Plastic Surgery       SURGERY
        01HSS             Hand Surgery - Surgery            SURGERY
        02HSS             Hand Surgery - Surgery            SURGERY
        02NCC                                               SURGERY
        01NCC                                               SURGERY
        01NSP         Pediatric Surgery- Neurological       SURGERY
        02NSP         Pediatric Surgery- Neurological       SURGERY
        04OMF          Oral and Maxillofacial Surgery       SURGERY
        01OMF          Oral and Maxillofacial Surgery       SURGERY
        02ORS               Orthopedic Surgery              SURGERY
        01ORS               Orthopedic Surgery              SURGERY
        01OSS         Orthopedic Surgery of the Spine       SURGERY
        02OSS         Orthopedic Surgery of the Spine       SURGERY
         02OT                                               SURGERY
         01OT                                               SURGERY
        02OTO                   Otolaryngology              SURGERY
        01OTO                   Otolaryngology              SURGERY
        02PDO              Pediatric Otolaryngology         SURGERY
        01PDO              Pediatric Otolaryngology         SURGERY
        01PDS             Pediatric Surgery - Surgery       SURGERY
        02PDS             Pediatric Surgery - Surgery       SURGERY
        02PRO                      Proctology               SURGERY
        01PRO                      Proctology               SURGERY
         02PS                    Plastic Surgery            SURGERY
         01PS                    Plastic Surgery            SURGERY
                     Plastic Surgery within the Head and
        02PSH                                               SURGERY
                                      Neck
                     Plastic Surgery within the Head and
        01PSH                                               SURGERY
                                      Neck
                     Plastic Surgery within the Head and
        02PSO                                               SURGERY
                            Neck - Otolaryngology
                     Plastic Surgery within the Head and
        01PSO                                               SURGERY
                            Neck - Otolaryngology
        01SO                   Surgical Oncology            SURGERY
        02SO                   Surgical Oncology            SURGERY
        01TRS                   Trauma Surgery              SURGERY
        02TRS                   Trauma Surgery              SURGERY
         02TS                  Thoracic Surgery             SURGERY
         01TS                  Thoracic Surgery             SURGERY
        01TTS                 Transplant Surgery            SURGERY
        02TTS                 Transplant Surgery            SURGERY
                         Female Pelvic Medicine and
        01UPR                                               SURGERY
                            Reconstructive Surgery
         01VS                  Vascular Surgery             SURGERY
         02VS                  Vascular Surgery             SURGERY
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         02U                    Urology                     UROLOGY
         01U                    Urology                     UROLOGY
        01UP                Pediatric Urology               UROLOGY
        02UP                Pediatric Urology               UROLOGY
        05VET                                              VETERINARY




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XVI.     Exhibit 5 – Previous Testimony
                                   Case

  In re National Prescription Opiate Litigation, United States District
  Court of Ohio (Northern), MDL 28-4, Case No.: 17-md-2804

  In re Opioid Litigation, Supreme Court of the State of New York,
  County of Suffolk, Case Nos.: County of Suffolk, 400001/2017;
  County of Nassau, 400008/2017; and New York State, 400016/2018

  Barry Staubus in his official capacity as District Attorney General for
  the Second Judicial District, et al. v. Purdue Pharma, L.P., et al., Law
  Court for Sullivan County at Kingsport, Tennessee, Case No.: C-41916




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XVII.    Exhibit 6 – Considered List




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